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                              In The United States District Court                  JUN 2 5 2019
                             For The Eastern District of Arkansas
                                                                        JA~ESm"MACK,CLERK
ANIMAL LEGAL DEFENSE FUND;                                              By. ~        Dl!PCLERK
ANIMAL EQUALITY; CENTER FOR
BIOLOGICAL DNERSITY; and FOOD
CHAIN WORKERS ALLIANCE

   Plaintiffs,
                                                       Case No.:   If: Jq-cv-1/l{Z -JM.
                                                       COMPLAINT FOR
   v.
                                                       DECLARATORY AND
                                                       INJUNCTIVE RELIEF
JONATHAN andDeANNVAUGHT, doing
business as Prayer Creek Farm, and PECO
FOODS,INC.

   De endants.
                                                          This case assigned to District Judge   Mood.y
                                                                                          Lp. . e.
                                                          and to Magistrate Judge _V..__o..     ._______
   I.         INTRODUCTION

        1.       Animal Legal Defense Fund ("ALDF"), Animal Equality ("AE"), Center for

Biological Diversity ("CBD"), and Food Chain Workers' Alliance ("FCWA") (collectively

"Plaintiffs") are nonprofit organizations dedicated to reforming industrial animal agriculture and

protecting the people, animals, and environment that suffer due to the industrialization of our

food production system. When corporations trap massive numbers of animals in factory farms

and process them through high-speed, dangerous slaughterhouses, all to enrich themselves and

their shareholders, they cause irremediable harms to workers, rural communities, the

environment, and the animals. However, the industry has been able to propagate by hiding its

production methods.

        2.       Employment-based undercover investigations of industrial agricultural facilities,

which provide the public information about this secretive industry, have proven some of the only

means to demonstrate the truth about how it functions and reform its practices. The information


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investigations produce has contributed to criminal prosecutions for animal cruelty, worker

organizing campaigns, shareholder resolutions to reform corporate conduct, and, just this month,

led a major milk company to alter its supply lines, change its audit practices, and amend its

education programs. 1 Exposes of our food production system date back to Upton Sinclair's The

Jungle, which brought about the enactment of the Federal Meat Inspection Act and the Pure

Food and Drug Act. Today, they continue to inform policymaking, alter consumer purchasing,

and reform manufacturing processes. They are an essential part of the marketplace of ideas.

         3.      So that Plaintiffs can continue to engage in that advocacy, Plaintiffs seek

declaratory and injunctive relief to stop the threat that Defendants will enforce Arkansas Code

§ 16-118-113 (the "Arkansas Ag-Gag law") in violation of the United States Constitution,

particularly the First Amendment and Equal Protection Clause.

         4.      The Arkansas Ag-Gag law is part of the nationwide effort by the American

Legislative Exchange Council, U.S. Chamber of Commerce, Farm Bureau and other political

organizations--whose focus is on protecting corporate profits by shielding companies from

needed accountability-to suppress speech through penalizing investigations meant to reveal the

animal agriculture industry's illegal and unethical conduct to the public.

         5.      With Ag-Gag laws having been successfully challenged as unconstitutional in

Idaho, Utah, Wyoming and Iowa, and ongoing challenges in North Carolina, Kansas and Iowa,

the corporate lobbyists who designed the Arkansas law tried to prevent judicial review of the

statute. They crafted it to create extreme civil penalties that can be enforced by factory farms and

industrial slaughterhouses against investigators (thereby chilling their speech) while-the




1 See, e.g., Fairlife Statement on Animal Care, Fairlife (June 12, 2019),
https://fairlife.com/news/fairlife-statement-regarding-arm-video/.
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industry's representatives believed-preventing advocates from identifying proper defendants to

challenge the law in court (thereby keeping the chill in place).

       6.       However, Plaintiffs have specific and definite plans to investigate Prayer Creek

Farm and Peco Foods, lnc.'s Arkansas facilities so they can use that information to challenge the

animal cruelty, harm to workers, and environmental catastrophes these operations are causing in

the state. Prayer Creek Farm is owned and operated by Jonathan Vaught and Representative

DeAnn Vaught, who was lead sponsor of the Arkansas Ag-Gag law. They refused to waive their

rights under the law. Peco Foods is a major industrial chicken producer that expanded its

operations in Arkansas in parallel to the development of the Ag-Gag law. 2 Peco Foods has been

accused of conspiring with other industry players to benefit from their collective power to

manipulate information, Third Amended And Consolidated Class Action Complaint, In re

Broiler Chicken Antitrust Litigation, No. l:16-cv-08637 (N.D. Ill.); it also refused to waive its

rights under the Ag-Gag law.

        7.      The threat of penalty under Arkansas' Ag-Gag law is keeping Plaintiffs from

investigating Defendants' facilities in Arkansas and engaging in advocacy based on the

information those investigations would reveal. Therefore, there is an active dispute between

Plaintiffs and the Vaughts, doing business as Prayer Creek Farm, and Peco Foods, requiring the

Court to declare the Arkansas Ag-Gag law unconstitutional and enjoin these Defendants from

using it so it will no longer suppress Plaintiffs' speech.




2 Justin Lewis, Poultry Processor Investing $165 Million, 1,000 Jobs Coming to Arkansas,
KATV (Sept. I 0, 2015), https://katv .com/archive/poultry-processor-investing-165-million-1000-
jobs-coming-to-arkansas.
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   IT.          SUMMARY

         8.      Plaintiffs provide accurate information to the public regarding industrial animal

agriculture's horrific methods through engaging in and utilizing the results of undercover

investigations of industrial animal agriculture facilities.

         9.      These investigations are typically employment-based. Plaintiffs ALDF and AE

employ and contract with investigators to carry out investigations pursuant to their instructions.

Investigators seek out employment opportunities at factory farms and slaughterhouses, apply for

and obtain a job through the usual channels, using their real identities-merely concealing their

true journalistic or investigative motives for seeking employment, as well as their associations

with Plaintiffs. Once employed, the investigators document activities in the facility while

performing, in good faith, the lawful tasks required of them, with the goal of ultimately revealing

to the public the entities' otherwise secret unlawful or unethical operations.

         10.     In the past two decades, journalists and advocates have conducted more than 100

undercover investigations at factory farms and slaughterhouses in the United States, exposing

terrible health and safety violations, animal suffering and environmental contamination, and

forcing prosecutions, food safety recalls, citations and closures. The investigations have also

generated countless news stories.

         l l.    A 2012 consumer survey conducted by Purdue University found that the public

relies on the information gathered through undercover investigations of agricultural facilities

more than it relies on information from industry groups and the government combined.

         12.     The ability to engage in investigations of animal agriculture facilities and the

resulting advocacy in Arkansas is particularly important.




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       13.     Arkansas is the home of both the world's largest food retailer, Walmart, and the

country's largest poultry and meat processor, Tyson Foods. Meat-producing giants Butterball,

Cargill, Mountaire, Peco Foods, Pilgrim's Pride, Perdue Farms, and Wayne Farms all have

locations (often many) in Arkansas. The state is the second largest producer of broiler chickens

(chickens raised for meat) and has the twelfth largest population of cows raised for beef in the

United States. Its pig population grew by approximately 20% between 2012 and 2017 and, as of

2018, pigs outnumbered the population of every Arkansas city except Little Rock (and they were

not far behind Little Rock).

       14.     Further, the state government has shown itself to be unusually deferential to

industrial animal agriculture companies. It recently passed, in only five days, legislation to limit

the ability of people to comment on factory farm permits.

       15.     Federal regulation is also lax in Arkansas. The federal Farm Service Agency and

Small Business Administration, the two federal agricultural lending agencies, have failed to

respond to a 2017 petition submitted by Plaintiffs ALDF and CBD asking the agencies to comply

with federal law when issuing loans that are fueling the rapid expansion of industrial agriculture

in northeastern Arkansas.

       16.     The United States Department of Agriculture ("USDA") has also provided Peco

Foods' Pocahontas slaughter facility a special exemption to run its poultry slaughter lines at

faster speeds than the typical poultry slaughterhouse, increasing the risks of worker injuries (a

worker suffered an amputation immediately after the line speed increase), food contamination,

and animal suffering, including animals being slaughtered alive and otherwise dying excessively

painful deaths, rather than being properly slaughtered.




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        17.     The undercover investigations of Arkansas animal agriculture facilities that

occurred in the state prior to the Ag-Gag law being passed document extreme cruelty. In 2006,

People for the Ethical Treatment of Animals engaged in an employment-based undercover

investigation of the Butterball turkey slaughterhouse in Ozark, Arkansas. That investigator

documented workers encouraging one another to ''jump on [the turkey's] stomachs" so "their

insides will come out of their [rectums]." The investigator also saw a worker inserting his finger

into a turkey's vagina. 3

        18.     In 2015, Last Chance for Animals conducted an undercover investigation in

Rogers, Arkansas of Pel-Freez Arkansas, LLC, the nation's largest rabbit slaughterhouse. The

group's investigator, who worked in the plant as a blood catcher, collecting rabbit blood for

medical research, documented a vicious slaughter process. Workers beat rabbits on their heads

with the dull edge of a knife in a crude attempt to stun them, then broke the animals' hind legs to

clamp the twitching rabbits into shackles. Workers finally decapitated the rabbits, often with a

dull knife that prolonged the slaughter process and caused the rabbits to scream in pain.

        19.    The Arkansas Ag-Gag law, which Plaintiffs challenge here, was passed to

suppress undercover investigations at agricultural facilities and evade the courts' ability to

alleviate that unconstitutional thwarting of speech.

       20.     As noted above, the Arkansas Ag-Gag law is the culmination of a years-long

campaign by industrial animal agriculture against investigations, to silence the resulting public

disclosures of truthful information about the industry's practices.

       21.     Ag-Gag laws have universally been struck down as violating the First

Amendment. Animal Legal Def Fund v. Reynolds, 353 F.Supp.3d 812 (S.D. Iowa 2019); W


3Butterball's House ofHo"ors: A PETA Undercover Investigation, People for the Ethical
Treatment of Animals, https://www.peta.org/features/butterball-peta-investigation/.
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Watersheds Project v. Michael, 353 F.Supp.3d 1176 (D. Wyo. 2018);Animal Legal Def Fundv.

Herbert, 263 F.Supp.3d 1193 (D. Utah 2017); Animal Legal Def Fund v. Otter, 118 F.Supp.3d

1195 (D. Idaho 2015), affd in part, rev'd in part sub nom. Animal Legal Def Fund v. Wasden,

878 F.3d 1184 (9th Cir. 2018).

       22.     Yet, undeterred, industrial agriculture companies, their lobbyists, and the

legislators who do their bidding revised the laws to hide their objectives and attempt to keep

them from being challenged.

       23.     First, in 2015, North Carolina enacted North Carolina General Statute § 99A-2,

which targets undercover investigators in all industries, not just agriculture, thus attempting to

disguise its desire to suppress a particular type of speech: that concerning factory farming. North

Carolina also allowed private citizens to enforce its law, thus hoping plaintiffs would not have

standing to challenge the statute because its enforcement was too uncertain.

       24.     North Carolina's gambit failed. In a 2016 challenge, the plaintiffs alleged they

were deterred from investigating animal cruelty at a state university and state-controlled animal

facilities. The Fourth Circuit held the plaintiffs successfully pleaded standing because they

alleged they "have in the past conducted actual undercover investigations in public and private

facilities for the purpose of uncovering unethical or illegal treatment of animals and

disseminating such information to the public" and can "plausibly allege[] that they wish to

continue such investigations in furtherance of their missions and that they are fully prepared to

go forward but for their fear of liability under the Act." People for the Ethical Treatment of

Animals, Inc. v. Stein, 737 Fed. App'x 122, 130 (4th Cir. 2018). The district court subsequently

denied Defendants' motion to dismiss the federal constitutional claims.




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        25.     The Arkansas Ag-Gag law is the next attempt to dodge the Constitution and

intimidate advocates from gathering and releasing information about the industry's practices.

        26.     Just like the Ag-Gag laws before it, Arkansas legislators proudly promoted the

Arkansas law as supported by industry organizations like the Farm Bureau. 4

        27.     Representative Vaught, the statute's lead sponsor, explained in introducing the

Arkansas Ag-Gag law to the House Judiciary Committee that it "is modeled after a newly

enacted law in North Carolina in 2016." In particular, Arkansas' statute replicates North

Carolina's tactic of applying its prohibitions to all industries, thereby hoping to hide the

legislature's objective to protect industrial agriculture. 5




4 Transcripts of Arkansas legislative proceedings are not available. References and quotations
from legislative proceedings in this Complaint primarily come from reviewing the few audio
recordings of House proceedings that were posted to the internet around the time the law was
passed. Although the legislature states those posting should still be available online, Plaintiffs
were unable to locate them to prepare this Complaint.
5 Arkansas Code § 16-118-113 states, in full:
(a) As used in this section:
        (1) "Commercial property" means: (A) A business property; (B) Agricultural or timber
        production operations, including buildings and all outdoor areas that are not open to the
        public; and (C) Residential property used for business purposes; and
        (2) ''Nonpublic area" means an area not accessible to or not intended to be accessed by
        the general public.
(b) A person who knowingly gains access to a nonpublic area of a commercial property and
engages in an act that exceeds the person's authority to enter the nonpublic area is liable to the
owner or operator of the commercial property for any damages sustained by the owner or
operator.
(c) An act that exceeds a person's authority to enter a nonpublic area of commercial property
includes an employee who knowingly enters a nonpublic area of commercial property for a
reason other than a bona fide intent of seeking or holding employment or doing business with the
employer and without authorization subsequently:
        (1) Captures or removes the employer's data, paper, records, or any other documents and
        uses the information contained on or in the employer's data, paper, records, or any other
        documents in a manner that damages the employer;
        (2) Records images or sound occurring within an employer's commercial property and
        uses the recording in a manner that damages the employer;
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       28.     Yet, clearly responding to the Ag-Gag litigation elsewhere, Arkansas also

narrowed who can enforce the law. It excludes "a state agency [or] a state-funded institution of

higher education," Ark. Code. § 16-118-113(g), the exact targets named in North Carolina. As

Representative Vaught explained in her speech in support of the law on the House floor, the

statute was written so it can only be "enforced through a private right of action" so as "to protect

this legislation from constitutional challenges."

       29.     Nonetheless, its text makes clear it is aimed at undercover investigations meant to

gather information to be released to the public-First Amendment-protected activity.

       30.     The particular conduct the statute prohibits mirrors the techniques of

employment-based undercover investigators.


        (3) Places on the commercial property an unattended camera or electronic surveillance
        device and uses the unattended camera or electronic surveillance device to record images
        or data for an unlawful purpose;
        (4) Conspires in an organized theft of items belonging to the employer; or
        (5) Commits an act that substantially interferes with the ownership or possession of the
commercial property.
(d) A person who knowingly directs or assists another person to violate this section is jointly
liable.
(e) A court may award to a prevailing party in an action brought under this section one (1) or
more of the following remedies:
        (1) Equitable relief;
        (2) Compensatory damages;
        (3) Costs and fees, including reasonable attorney's fees; and
        (4) In a case where compensatory damages cannot be quantified, a court may award
        additional damages as otherwise allowed by state or federal law in an amount not to
        exceed five thousand dollars ($5,000) for each day, or a portion of a day, that a defendant
        has acted in violation of subsection (b) of this section, and that in the court's discretion
        are commensurate with the harm caused to the plaintiff by the defendant's conduct in
        violation of this section.
(f) This section does not:
        (1) Diminish the protections provided to employees under state or federal law; or
        (2) Limit any other remedy available at common law or provided by law.
(g) This section does not apply to a state agency, a state-funded institution of higher education, a
law enforcement officer engaged in a lawful investigation of commercial property or of the
owner or operator of the commercial property, or a healthcare provider or medical services
provider.
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        31.    The statute also creates joint liability for anyone who aids the investigator, as

occurs when an investigator is working at the direction of an advocacy organization.

        32.    The statute further prohibits "us[ing] [] information" once it is obtained-that is,

communicating the information, as advocates do. Ark. Code§ 16-118-113(c)(l)-(2).

        33.    But, it is not limited to penalizing undercover investigations. The Arkansas Ag-

Gag law prohibits communications by all sorts of individuals, including parents revealing risks at

daycares and consumers witnessing criminal misconduct. Ark. Code § 16-118-113(b). It is

immensely broad.

        34.    The legislative record, obtained via Arkansas' freedom of information statutes

and attached as Exhibit A, reveals Arkansas had no reason to pass these restrictions on First

Amendment-protected activities. Legislators did not identify any gap in existing law or rash of

misconduct, nor consider any alternatives to attacking speech.

        35.    Knee-jerk attacks on free expression cannot stand. McCullen v. Coakley, 134 S.

Ct. 2518, 2540 (2014). This is because they will almost inevitably chill speech, as has occurred

here.

        36.    The Arkansas Ag-Gag law has prevented Plaintiffs ALDF and AE from

investigating Defendants-the confined pig facility, Prayer Creek Farm, and industrial chicken

producer Peco Foods' Arkansas facilities. As a result, the law has kept all Plaintiffs from using

the information those investigations would reveal, regarding dangerous working conditions,

environmental contamination, and/or the inhumane treatment of animals, in Plaintiffs' advocacy

to reform the industrial animal agriculture system.

        37.    The Court should thus declare the Arkansas Ag-Gag law unconstitutional and

enjoin Defendants from using it to prosecute Plaintiffs ALDF and AE for engaging in their



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desired investigations of Defendants' facilities, as to do so would violate the First and Fourteenth

Amendments of the United States Constitution. This would remove ALDF's and AE's chill and

allow all Plaintiffs to obtain information that they would use in their advocacy on matters of

public concern.

   III.         JURISDICTION AND VENUE

          38.     Because this case presents the question of whether the Arkansas Ag-Gag law

violates the United States Constitution, this Court has jurisdiction under 28 U.S.C. §§ 1331,

1343.

          39.     Federal Rule of Civil Procedure 57 and 28 U.S.C. § 2201 empower Plaintiffs to

seek and this Court to enter the requested declaratory judgment.

          40.     Federal Rule of Civil Procedure 65 and the Court's inherent equitable powers

empower Plaintiffs to seek and this Court to enter the requested injunctive relief.

          41.     Venue is proper in the Eastern District of Arkansas under 28 U.S.C. § 1391(b)(l)

and (2). Both Prayer Creek Farm and the Peco Foods facilities at issue here reside in Arkansas,

and the Peco Foods facilities reside in the Eastern District of Arkansas. Further, the activities

related to the passage of the Arkansas Ag-Gag law occurred in the Eastern District.

   IV.          PARTIES

          42.     Defendants Jonathan and DeAnn Vaught do business as Prayer Creek Farm,

which is located at 266 Dairy Road, Horatio, Arkansas, 71842.

          43.     Prayer Creek Farm's permits provide it can house roughly 1,200 pigs at a time.

          44.     DeAnn Vaught was the lead sponsor of the Arkansas Ag-Gag law.

          45.     She is also a member of the Farm Bureau, one of the industry organizations that

supported the law.



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         46.   Elsewhere, the Farm Bureau has stated its members have a "substantial interest[]"

in being able to enforce Ag-Gag laws like the Arkansas statute against organizations like

Plaintiffs, and specifically ALDF. Memorandum in Support of Motion to Intervene by North

Carolina Farm Bureau Federation, People for the Ethical Treatment ofAnimals, Inc. v. Stein, No.

1:16-cv-0025, Dkt. No. 83, at 2 (M.D.N.C). As the Farm Bureau put it, its members "stand to

lose" by not being able to enforce Ag-Gag laws. Id. at 10. Its members consider enforcing Ag-

Gag laws a necessary means to "vindicat[e] their property rights." Id. at 11.

         47.   Nonetheless, Plaintiffs ALDF and AE asked the Vaughts to waive their right to

enforce the Arkansas Ag-Gag law against them for any investigation of Prayer Creek Farm

because the law is unconstitutional. They did not do so.

         48.   Therefore, ALDF and AE have concrete and substantial reasons to fear that the

Vaughts, doing business as Prayer Creek Farm, would use the Ag-Gag law against them if

Plaintiffs were to conduct their desired undercover investigation of the facility, as discussed

below.

         49.   Defendant Peco Foods, Inc. is an Alabama-based company that operates

numerous Arkansas facilities, including a slaughter and processing plant and a hatchery at 4114

Highway 67 South, Pocahontas, Arkansas, 72455, and a slaughter and processing plant and a

hatchery at 625 S. Allen Street, Batesville, Arkansas, 72501.

         50.   The Ag-Gag law was passed following Peco Foods' substantial expansion and

investment in the state.

         51.   Peco Foods also regularly aligns itself with industrial agriculture trade

associations like the Farm Bureau, even being connected with a conspiracy to fix chicken prices

using the relationships built through those trade associations. See, e.g., Third Amended and



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Consolidated Class Action Complaint, In re Broiler Chicken Antitrust Litigation, No. 1:16-cv-

08637 (N.D. Ill.).

       52.     Nonetheless, Plaintiffs ALDF and AE asked Peco Foods to waive its right to

enforce the Arkansas Ag-Gag law against them for any investigation of the Arkansas facilities

identified above because the law is unconstitutional. Peco Foods did not do so.

       53.     Therefore, ALDF and AE have concrete and substantial reasons to fear that Peco

Foods would use the Ag-Gag law against them if they were to conduct their desired undercover

investigation of the above-listed Peco Foods Arkansas facilities, as discussed more below.

       54.     Plaintiff ALDF is a national 501(c)(3) nonprofit animal protection organization

founded in 1979 that uses education, public outreach, investigations, legislation, and litigation to

protect the lives and advance the interests of animals, including those animals who are raised for

food, used in biomedical research, exhibited to the public, or bred as pets. ALDF's work is

supported by more than 200,000 members and supporters across the country, many of whom live

in Arkansas.

       55.     Among the ways ALDF achieves its mission is by broadly publicizing and

engaging in advocacy and awareness-building about the legal issues affecting animals, including

farmed animals. ALDF engages in this public education and advocacy by producing a quarterly

publication, The Animals' Advocate, drafting articles, press releases, reports, and a blog,

engaging audiences through social media, and holding a wide array of virtual and in-person

educational events for legal and lay audiences nationwide. In all of these fora, ALDF educates

and advocates to its audiences about the myriad harms caused by factory farming and industrial

slaughter, including the immense suffering of animals in these systems. In doing so, ALDF has

and will continue to rely on and share information from its and others' undercover investigations.



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       56.     ALDF has conducted undercover investigations at animal facilities around the

country, including facilities like those of Defendants. For example, in 2015, ALDF conducted an

undercover employment-based investigation of a Carthage, Texas-based Tyson Foods chicken

slaughterhouse. The footage ALDF's investigator captured while she hung birds on shackles in

the "live hang" part of the plant showed birds treated like trash-left to suffocate by the

hundreds on overcrowded conveyor belts and discarded, still alive, in heaps of dead and dying

chickens, feathers, and filth. The investigation also revealed unsafe, torturous working

conditions; trying to hang panicked, flapping birds on shackles at untenable speed, the

investigator developed multiple injuries and ailments, including continuously getting chicken

dander, feces, and feathers in her eyes as a result of the inadequate personal protective gear

provided by Tyson. ALDF's investigation resulted in the filing of complaints-concerning the

treatment of the chickens, food safety, worker protection, and false corporate statements-with

several federal and state agencies.

       57.     Similarly, in 2016, ALDF conducted an undercover employment-based

investigation of a Nebraska pig breeding operation owned by The Maschhoffs, the nation's third-

largest pig producer and a Hormel Foods Corporation supplier. The investigation revealed long-

term neglect and lack of appropriate veterinary care-pigs suffering for days or weeks with

grossly prolapsed rectums, intestinal ruptures, large open wounds, and bloody baseball-sized

ruptured cysts. Pigs were denied food for long periods of time. A botched "euthanasia" resulted

in a mother pig slowly dying after being shot in the head multiple times over the course of

several minutes. Hormel suspended the supplier after ALDF's release of the investigation, and

ALDF submitted complaints to the attorneys general of Nebraska and Illinois (where The

Maschhoffs operate).



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       58.     The tactics employed by investigators that ALDF retains include obtaining

employment with a facility that ALDF believes is engaged in the unethical or illegal treatment of

animals, or that has access to an entity ALDF believes is engaged in such misconduct. In non-

public areas of the target facility, the investigator then gathers information and/or makes

recordings regarding the conduct. In order to obtain the footage and information that ALDF

seeks, the investigator may also leave recording devices unattended to capture images and sound

over a longer duration, such as to document the length of time for which a sick or injured animal

goes without veterinary care.

       59.     In order to advance its mission, ALDF releases the evidence uncovered during its

investigations to the public through the media channels described above, and broadly seeks to

advocate against and hold companies accountable for illegal and unethical conduct identified in

the investigation, whether through civil lawsuits, regulatory comments, administrative

complaints, requests for prosecution, petitions, or social media campaigns. ALDF also widely

shares the information with many audiences, including reporters, members and supporters, and

allows other advocacy groups to use the information.

       60.     Plaintiff AE is an international nonprofit with offices in the United States-where

it is has been a registered 50l(c)(3) nonprofit organization since 2014-as well as Germany,

Italy, Spain, the United Kingdom, Mexico, Brazil, and India. Its objective is to end cruelty to

farmed animals. To accomplish this end, AE works in four arenas: (1) undercover investigations,

to expose the cruel and abusive treatment of animals inside the secretive world of industrial

animal agriculture; (2) education, where AE uses social media, films, and newsletters to inform

consumers about their choices and encourage them to choose compassion over cruelty; (3)

corporate outreach, through which AE encourages businesses to implement meaningful animal



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protections within their supply chains; and (4) legal advocacy, through which AE proposes

legislation, develops petitions to reform existing rules, and works to hold the perpetrators

identified through its undercover investigations accountable.

       61.     AE has found that undercover investigations are its most powerful tool to reform

industrial animal agriculture because the images and information gathered through its and others'

investigations provide visceral support for its advocacy efforts. Moreover, investigations are

often featured in the media and by other organizations, expanding AE's reach.

       62.     Since it was founded in 2006, AE has filmed inside more than 700 factory farms

and slaughterhouses across 13 countries. It was the first organization whose investigators were

able to gain access to a slaughterhouse in Spain, and the first organization whose investigators

were able to gain access into the egg industry in Mexico and Brazil.

       63.     Among       the   investigative   techniques   AE   uses   are   employment-based

investigations, where an AE contractor or employee obtains employment with an organization

that AE believes is engaged in the unethical or illegal treatment of animals, or that has access to

an entity AE believes is engaged in such misconduct. In non-public areas of the target entity, the

investigator then collects information and/or makes recordings regarding the conduct. AE

investigators may also leave recording devices unattended to capture images and sound over a

longer duration, such as to document the length of time for which a sick or injured animal goes

without veterinary care.

       64.     In order to advance its mission, AE has released and will continue to release the

evidence uncovered during its and others' investigations to the public through the channels

described above, shares the information with reporters, and allows other advocacy groups to use

the information.



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        65.     ALDF and AE wish to investigate Prayer Creek Farm and the Peco Foods

Arkansas facilities identified above.

        66.     These facilities are not open to the public and, even if they were, on information

and belief, they are engaged in activities they would hide from the public, requiring ALDF and

AE to use their employment-based undercover investigatory techniques to obtain the truth about

what is going on in these facilities.

        67.     Given the volume of pigs that Prayer Creek Farm can maintain at any time, it is

likely its animals are trapped in nearly immovable quarters that produce physical and mental

health risks for the animals and workers, as well as drastic environmental harms that affect the

surrounding community, all of which would be hidden from public view and, in many

circumstances, can only be fully comprehended from inside the facility.

       68.      More specifically, due to its wholly-enclosed design and the number of pigs it

keeps in those enclosures, Prayer Creek Farm likely uses "gestation crates" and/or "farrowing

crates"-metal enclosures in which pregnant and nursing sows, respectively, are extremely

confined for most of their lives. Gestation crates are so narrow that sows typically cannot tum

around at all, or lie down comfortably during their pregnancy; farrowing crates keep pigs on their

sides to allow their piglets to nurse, separating the mother from her piglets by metal bars. These

crates are often associated with causing sows mental illness and at least one major meat

company, Hormel Foods, has confirmed that consumers regard gestation crates as inhumane.

       69.     In addition, because Prayer Creek Farm's owner is Representative Vaught,

regardless of what particular practices Prayer Creek Farm employs, ALDF and AE have an

interest in uncovering the activities and conditions that Representative Vaught wished to conceal

from the public through the Arkansas Ag-Gag law.



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          70.     One of Peco Foods' Arkansas facilities was recently authorized by USDA to

increase the already dangerous speed at which it slaughters chickens. Such speed increases result

in an increased number of animals being slaughtered alive, greater rates of worker injuries-

including knife wounds and repetitive stress injuries-and more contaminated meat products

entering the food supply. Evidence of similar violations at Peco Foods' Arkansas plant can only

be gathered through prolonged access.

          71.     Moreover, Peco Foods' Arkansas slaughter facilities are "live hang" plants, in

which dozens of chickens at a time are dumped from transport crates onto conveyor belts and

then hung by their legs from fast-moving metal shackles. This process can result in broken legs

and wings and other injuries, birds suffocating on the teeming conveyor belts, and workers

taking their frustrations out on the stressed animals as the workers struggle to hang birds at an

immense pace. Indeed, in the past five years, a worker at a Peco Foods live hang slaughter plant

in Tuscaloosa, Alabama was cited by USDA for, on more than one occasion, hanging live birds

by the head in a shackle and then pulling on the birds' heads to decapitate them. At the same

Peco Foods slaughter plant the prior year, USDA had written up the plant when numerous

damaged transport cages were observed and a bird's leg became stuck in a cage hole and was

lacerated to the bone, leading the bird to go into shock from blood loss. Even if birds at "live

hang" plants are unharmed by the dumping and shackling process, birds not properly hung may

miss the electrified stun water bath meant to render them unconscious, and be boiled alive when

they enter the scalding tank to loosen their feathers.

          72.     Peco also has an established history of environmental pollution and failure to

comply with environmental laws, 6 and ALDF has been active in protecting Arkansas' rivers and



6   See, e.g., https://echo.epa.gov/facilities/enforcement-case-search/results.
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streams that are already suffering the negative effects of industrial animal agriculture. Therefore,

both ALDF and AE believe there is an important public interest in understanding how Peco

operates in Arkansas regardless of its line speeds, including its operations' effect on its labor

force, animals, and the environment.

       73.     ALDF and AE have retained an experienced investigator who is ready, willing,

and able to conduct employment-based investigations of these facilities.

       74.     But for the chill on their activities created by the Ag-Gag law, ALDF and AE

would authorize their investigator to use the access they obtain through employment to gather

information and record audio files and video footage in the facilities' nonpublic areas. They

would do this for the sole purpose of obtaining information of public concern that they would

then release to the public, use in their advocacy, and allow other advocacy groups to use to

demonstrate the harms industrial agriculture generates, which producers wish to keep secret

through laws like the Arkansas Ag-Gag law.

       75.     ALDF and AE have not undertaken these investigations because of the Arkansas

Ag-Gag law-the exact effect the law was designed to have. ALDF and AE engage in

undercover investigations where no Ag-Gag laws are in place. However, neither organization is

prepared to incur the risks of liability the Arkansas Ag-Gag law creates. Therefore, the Arkansas

Ag-Gag law has chilled their speech.

       76.     Plaintiff CBD is a thirty-year old national nonprofit organization that works

through science, law, and policy to secure a future for all species, great and small, hovering on

the brink of extinction. For decades CBD has worked to protect imperiled plants and wildlife,

open spaces, and air and water quality, including in Arkansas, as well as to preserve the overall




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quality of life for people and animals. CBD's work is supported by over 1.4 million members

and online supporters across the country, many of whom live in Arkansas.

       77.     CBD's species conservation and recovery interests are impaired because of the

ongoing harm to imperiled species and their habitats as a result of habitat :fragmentation, air and

water pollution, and freshwater withdrawal practices by factory farms and slaughter operations.

For example, animal wastes and other process wastewaters discharged from industrial animal

agricultural operations into groundwater and neighboring streams and rivers commonly include

pollutants such as phosphorous, heavy metals, and pharmaceuticals, as well as bacteria like E.

coli. This pollution has produced profound negative effects in water quality and aquatic species

health in Arkansas and across the southeastern United States, including eutrophication of

waterways, toxic blooms of algae and dinoflagellates, endocrine disruption in downstream

wildlife, and increased sedimentation in waterways that can cause aquatic species to suffocate

and that disrupts their feeding and reproductive behaviors.

       78.     CBD is deeply concerned with the conservation of imperiled species in the

southeastern United States, specifically including Arkansas, and has committed substantial

resources to work in that area. For instance, due to documented declines in southeastern species

diversity and populations, in 2010 CBD submitted an administrative petition to the U.S.

Department of the Interior, U.S. Department of Commerce, and U.S. Fish and Wildlife Service to

list 404 aquatic, riparian, and wetland species from the southeastern United States as threatened

or endangered under the Endangered Species Act. Of the species at issue in that petition, at least

30 are endemic to Arkansas. Many of the species at issue in that petition are specifically

threatened by pollution and habitat degradation from factory farming operations, such as the

Ouachita creekshell-a species of mussel found in the Ozark region.



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       79.     Likewise, CBD has participated in litigation to obtain federal safeguards and

habitat protection for imperiled species, including species in Arkansas. It has, for example, filed

lawsuits to obtain federal protections for imperiled species like the Spectaclecase--a large

mussel that was historically found in at least 44 streams, but is today only believed to be found in

20 streams in Alabama, Arkansas, Illinois, Iowa, Kentucky, Minnesota, Missouri, Tennessee,

Virginia, West Virginia, and Wisconsin.

       80.     CBD also works towards changing the industrial animal agriculture industry.

CBD has, for example, developed administrative comments on and advocated in opposition to

USDA increasing line-speeds at poultry and swine slaughter plants, which includes

slaughterhouses owned and operated by Peco Foods in Arkansas. CBD opposes line-speed

increases because of the threats they present to animal welfare, worker health, and food safety.

CBD also opposes line-speed increases because of the increased harm to the environment that

will result from: (1) increasing the number of animals going through the slaughter line, which

will increase plant eftluent and other wastewater loads and freshwater demands; and (2)

increasing the regional demand for animals produced on industrial-scale animal operations,

which will increase the environmental pollution and habitat destruction from those facilities in

areas that are already suffering the negative effects of industrial animal agriculture.

       81.     In the past few years, CBD has specifically expanded its work in Arkansas to

address environmental and public health concerns related to industrial animal agricultural in

northeastern Arkansas. The industry has been expanding in northeastern Arkansas to

accommodate an increased demand for broiler chickens for slaughter by, in part, Peco Foods. In

support of these efforts and to advance its mission, CBD has developed administrative comments

and a rulemaking petition to increase transparency around the impact of this industry growth on



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the state's environment and native species, and to hold the government accountable for its role in

furthering the expansion and consolidation of this industry to the detriment of public health and

the environment.

       82.     In additional to its regulatory and litigation work, CBD employs scientific

research and creative media strategies to increase the pressure brought to bear by its litigation,

and bring state and federal administrations' and the public's attention to its demands, as well as

raise awareness of the issues on which it works. Among its media strategies, which are employed

in Arkansas and elsewhere, CBD aids reporters with their stories and publishes interactive maps,

newsletters, press releases, reports, videos, research papers, and op-eds that highlight its areas of

concern and ways to reform practices to better protect animals and the environment.

       83.     CBD has relied on and used information obtained through undercover

investigations of industrial animal agricultural facilities, like those conducted by ALDF and AE,

in its advocacy in the past. For example, in 2016 CBD utilized information from a 2007

undercover investigation from the Humane Society of the United States of a cattle processing

plant in California to formulate and substantiate its arguments in an amicus brief.

       84.     The ALDF and AE investigations chilled by the Arkansas Ag-Gag law would be

of particular use to CBD in its advocacy, educational and litigation efforts and CBD would use

that information should the investigations go forward. Indeed, given its work in Arkansas on the

pollution and harm to animals caused by industrial animal agricultural operations, information

and images from inside animal facilities like Prayer Creek Farm and slaughter and processing

plants like Peco Foods' would directly aid CBD's efforts to explain how those operations

pollute, the extent of their impacts, and the ways in which their pollution can be carried into the

surrounding environment-harming both neighbors and species. Because CBD seeks to tie



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environmental harms to human harms, any evidence of the working conditions inside and around

these plants would further aid CBD's advocacy.

       85.      Likewise, as part of its efforts to protect northeastern Arkansas against industrial

animal agriculture pollution, including by Peco Foods, CBD wishes to call attention to USDA's

failure to protect against the environmental implications of its line-speed changes, and the type

of information that would be gathered by ALDF and AE through their planned investigations

would aid CBD in that effort. Indeed, information from undercover investigations like those

contemplated by ALDF and AE is one of the most direct ways in which CBD can fully

demonstrate the nature of the runoff created by the line-speed changes, which it can then use in

its advocacy.

       86.      However, because of the Ag-Gag law's chilling effect on investigations like those

of ALDF and AE, and their dissemination of information gathered by investigators, the Arkansas

Ag-Gag law has prevented and will prevent CBD from engaging in its desired speech. Of course,

because of the chill produced by the Arkansas Ag-Gag law, CBD cannot know the full extent of

the information it has been denied from the law preventing constitutionally protected undercover

investigations like those CBD has relied on in the past and would rely on in the future.

Nonetheless, the investigations contemplated by ALDF and AE of Prayer Creek Farm and the

Peco Foods Arkansas facilities are important to CBD fulfilling its mission and ALDF and AE

have informed CBD they would share the information they obtained from those investigations

with CBD should the investigations proceed. Thus, it is plain the Arkansas Ag-Gag law has

compromised CBD's advocacy and speech.

       87.      Plaintiff FCWA is a decade-old coalition of worker-based organizations whose

members plant, harvest, process, pack, transport, prepare, serve, and sell food. FCWA's aim is to



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improve wages and conditions for workers all along the food chain. It works towards these

objectives through worker trainings to inform people of their rights and potential areas of

exploitation, educating food consumers about working conditions in food industries, and

developing alliances between pro-worker groups. FCWA has also led the development and

implementation of policies in several municipalities and counties that call for public food

procurement to prioritize purchasing food from producers who treat their workers well.

       88.     To further these efforts, FCWA advises on and develops its own reports on

working conditions, including the working conditions on factory farms like Prayer Creek Farm

and processing plants like those run by Peco Foods. Indeed, working conditions at industrial

animal agriculture facilities are a special area of concern to FCWA because the volume of

animals being grown and slaughtered places workers at heightened risk for repetitive stress

injuries that can result in lifelong disabilities. The process of catching thousands of chickens in a

grow house or dismembering the tens of thousands of animals that can pass along a slaughter line

in a given day regularly leads to hand, wrist, and shoulder injuries that prevent workers from

being able to close their fingers or pick-up utensils. Because health care and sick leave are so

limited, industrial agricultural workers often are required to forgo medical treatment that could

reverse these effects, and without treatment, they become permanent.

       89.     Moreover, the protective equipment industrial agriculture companies and farms

provide is so feeble workers regularly report rashes and skin peeling from their direct exposure

to animal waste. Numerous workers have died from the inhalation of contaminants in factory

farms or from falling into factory farm manure lagoons and drowning in animals' waste.

       90.     Processing plant workers also report that companies' insistence on keeping the

line moving at the most rapid pace possible, while refusing to pay for additional staff to replace



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workers on the line, keeps them from bathroom breaks, resulting in workers wearing diapers so

they can urinate or defecate on the line.

       91.     FCWA uses information from whistleblowers and has used information from

undercover investigators to highlight working conditions. In presenting its "Good Food

Purchasing Plan" to municipalities and counties-to change how they invest in food-FCW A

has drawn from the stories of whistleblowers and would rely on employment-based undercover

investigations like those performed by ALDF and AE to highlight how industrial animal

agriculture companies treat their workers and why taxpayer money should not be supporting

these conditions. FCWA believes hearing and witnessing workers' efforts to comply with the

tasks demanded of them (particularly the speed of slaughter and dismemberment), tasks which

inevitably exposes the workers to immediate and long term health risks, is an important

component in altering how municipalities and counties source their food, increasing their focus

on purchasing from companies that make life on the line sustainable. FCWA fears that its efforts

to petition the government and lobby for these policy changes could be undercut by the Ag-Gag

law keeping such information and recordings from being made public.

       92.     In addition, FCWA's report Walmart at the Crossroads sought to highlight

working conditions for the Arkansas-based supplier by drawing on information provided by

whistleblowers who had been inside industrial food plants. FCWA has also used information

from "match pair testing" and "salting'' to identify discriminatory hiring practices and unsafe

working conditions, which it has then used to advise the workers on their rights and help

promote unionization. Further still, images from undercover investigations of faculties have also

allowed workers' rights groups to identify unsafe working conditions and alert the Occupational

Safety and Health Administration and other appropriate agencies to protect workers.



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        93.     Working conditions in Arkansas remain a particular focus for FCWA. Not only is

there a large volume of workers involved in the food industry, but their working conditions and

wages have recently received a great deal of attention, with Walmart finally agreeing to raise its

minimum wage. Thus, FCWA is situated to demand other Arkansas operators improve their

treatment of their workers, should it be able to demonstrate the existing conditions are

insufficient. Moreover, one of FCWA's member organizations, the Northwest Arkansas Workers

Justice Center, was recently shuttered. It was one of the only organizations servicing workers in

that part of the state, and had focused extensively on animal agriculture workers. Thus, FCWA

will be increasing its efforts in the area so the people who had come to rely on the Northwest

Arkansas Workers Justice Center are properly cared for.

        94.     For all of these reasons, FCWA desires to use information like what would be

generated by ALDF and AE's investigations of Prayer Creek Farm and Peco Foods in its

advocacy. Of course, because of the chill produced by the Arkansas Ag-Gag law, FCWA cannot

know the full extent of the information it has been denied from the law preventing

constitutionally protected speech. However, ALDF and AE have informed FCWA they would

share that information with FCWA. Thus, because of the Ag-Gag law's chilling effect on

investigations, and thus the public dissemination of information gathered by investigators, the

Ag-Gag law has prevented and will prevent FCW A from engaging in its desired speech.

   V.         FACTS

   A. The Arkansas Ag-Gag Law's Text and History Demonstrate It Targets Undercover
        Investigations Designed To Inform the Public About Issues ofPublic Concern.

        95.     The Arkansas Ag-Gag law creates civil liability for "any damages sustained by

[an] owner or operator" of a business against "[a] person who knowingly gains access to a




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nonpublic area of a commercial property and engages in an act that exceeds the person's

authority to enter." Ark. Code§ 16-l 18-l 13(b).

       96.     The statute does not define "damages," but its text makes plain it is concerned

with reputational damage from the public release of accurate information about the business'

illegal or unethical conduct, as occurs following an employment-based undercover investigation

meant to inform the public.

       97.     The law provides a non-exhaustive list of activities by employees that can violate

the statute. They include: (1) "[c]aptur[ing] or remov[ing] the employer's data, paper, records, or

any other documents and us[ing] the information contained on or in the employer's data, paper,

records, or any other documents in a manner that damages the employer"; (2) "[r]ecord[ing]

images or sound occurring within an employer's commercial property and us[ing] the recording

in a manner that damages the employer"; and (3) "[p]lac[ing] on the commercial property an

unattended camera or electronic surveillance device and us[ing] the unattended camera or

electronic surveillance device to record images or data for an unlawful purpose." Ark. Code

§ 16-l 18-l 13(c)(l)-(3). Thus, it is focused on gathering information for communication-as

investigators do-particularly visual information that can move the public.

       98.     The lobbyist from the Arkansas Chamber of Commerce testifying in support of

the bill explained the law "is intended to address corporate espionage [and] activist

employment."

       99.     However, Arkansas already has a robust trade secrets statute that provides for all

of the relief available under the Ag-Gag law if someone steals corporate secrets. Ark. Code § 4-

75-601 et seq. That law creates a cause of action for any losses or unjust enrichment that occurs

"by misappropriation" of anything of "economic value, actual or potential." Ark. Code § 4-75-



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601(4), § 4-75-606. This is in addition to a separate statute that criminalizes theft of trade secrets.

Ark. Code § 5-36-107. Arkansas also has a series of laws aimed at "gang" activity, which it

defines to include coordinated efforts to engage in "burglary or retail theft," Ark. Code § 5-74-

201(d)(2), and that is above and beyond Arkansas' other statutes that criminalize theft, burglary,

destruction of property, trespass, and inconvenience to owners of property, Ark. Code §§ 5-36-

103(a)(l ), 5-38-204, 5-38-203, 5-39-202, 5-39-203(a)(2). This is to say nothing of the state's

civil remedies for trespass, destruction of property, tortious interference with contract, and the

like. See, e.g., Ark. Code § 5-39-203(f) (providing actual damages, punitive damages, and

attorney's fees for trespass); Ark. Code § 18-60-102 (providing treble damages for trespass

destroying certain agricultural property); El Paso Prod Co. v. Blanchard, 269 S.W.3d 362, 373

(Ark. 2007) (recognizing civil cause of action for tortious interference with contract); Norton v.

Emerson, No. CA 89-318, 1990 WL 42727, at *1 (Ark. Ct. App. Apr. 11, 1990) (affirming

compensatory damages in replevin suit). Arkansas law already seeks to prevent and remedy the

harms caused by "corporate espionage."

        100.   Thus, the Chamber's representative essentially admits the only function of the

Ag-Gag law is to target "activist employment," i.e., undercover investigators who seek

employment to gather information and release it to the public.

        101.   This is confirmed by Representative Vaught, who in her legislative statements in

support of the law warned the statute is needed because cellphone videos, like those used by

undercover investigators and advocacy organizations more broadly, "can destroy any employer,

any farmer" because they can show the true conditions of an operation to the public.

        102.   Likewise, Representative Hillman, who spoke on the House floor in support of the

law, explained he was in favor of the statute because ''those ofus who are farmers, we're always



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concerned about who might come on our property and what they might do while they're there."

Farmers, he continued, should be protected from being "sued for being cruel" by people who

''take pictures or record[] things." However, Representative Hillman warned legislators not to

create a record that the statute is meant to suppress information concerning "animal things and

stuff like that," as he did not want the courts to be able to identify the statute as an Ag-Gag law.

        103.   Were this not sufficient to demonstrate the statute's purpose to suppress the public

release of information from undercover investigations, the Arkansas Ag-Gag law also provides,

"A person who knowingly directs or assists another person to violate this section is jointly

liable." Ark. Code § 16-l 18-l 13(d). Undercover investigators are some of the only people who

engage in concerted action to plan and carry out activities that "exceed[] [their] authority" in

''nonpublic area[s]" of businesses. Id. § 16-118-113(b)-(c). Advocacy organizations use their

staff and expertise to identify entities they believe are likely to be engaged in unethical or

unlawful activities and then support the investigator as he or she gains employment and gathers

information there. Once the investigation is complete, the organization's press personnel enable

the findings to be distributed to the broadest possible audience.

       104.    Further still, the Arkansas Ag-Gag law also provides for liquidated damages if

"compensatory damages cannot be quantified," as is almost always the case with reputational

harm from public disclosures. Ark. Code§ 16-118-l 13(e)(4).

       105.    Moreover, the statute exempts from its reach employees who disclose information

pursuant to "state or federal law." Ark. Code § 16-118-l 13(t)(l). Put another way, it only seeks

to limit the activities of those who use unofficial channels to spread the word about their

employers' misconduct, such as investigators whose goal is to release the information they find

to the public, rather than report the abuse up the chain where it will never be acted upon.



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          106.   While the Arkansas Ag-Gag law's cause of action may be phrased to obscure its

purpose, at every other tum the plain text and legislative history of the law reveal the statute's

objective is to stop undercover investigations that will inform the public, like those that are

regularly conducted and relied upon by advocacy organizations like Plaintiffs.

   B. The Arkansas Ag-Gag Law Expressly Targets Speech.

          107.   In addition to revealing that the law's function is to suppress investigations and

the resulting communications, the Arkansas Ag-Gag law's text explicitly states the statute works

by restricting First Amendment-protected activities.

          108.   Sections 16-118-113(c)(l)-(2) prohibit gathering information if, and only if, the

information is "use[d]." These provisions only create penalties if there is a communication, i.e.,

speech.

          109.   Sections 16-l 18-113(c)(3) prohibits "us[ing] [an] unattended camera or electronic

surveillance device to record images or data." The "making [of] an audio or audiovisual

recording" is the equivalent of First Amendment-protected speech. Am. Civil Liberties Union of

RI. v. Alvarez, 679 F.3d 583, 595 (7th Cir. 2012) (emphasis in original); see also Herbert, 263

F.Supp.3d at 1208 ("[I]t appears the consensus among courts is that the act of recording is

protectable First Amendment speech.").

          110.   Moreover, even if §§ 16-l 18-113(c)(l)-(3) did not expressly reference First

Amendment-protected speech in defining their reach (and they do), their text would still directly

implicate the First Amendment because the First Amendment "applies to creating ... speech."

Brown v. Entm't Merchs. Ass'n, 564 U.S. 786, 792 n.l (2011). Sections 16-118-113(c)(l)-(3)

restrict the gathering of information because the information could be "use[d]." Thus, the

Arkansas Ag-Gag law's attack on gathering videos, photos, and information is as much an



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affront to the First Amendment as are its other prohibitions. "Facts, after all, are the beginning

point for much of the speech that is most essential to advance human knowledge and to conduct

human affairs." Sorrell v. IMS Health Inc., 564 U.S. 552, 570 (2011).

       111.     For these reasons too, § 16-118-l 13(c)(5) also implicates the First Amendment.

This catchall provision covers "substantially interfer[ing] with the ownership or possession of'

the covered property. Ark. Code§ 16-118-113(c)(5). None of these terms are defmed, but given

the statute's focus on stopping undercover investigators from gathering facts and communicating

that information, § 16-118-l 13(c)(5) must also be read to deter speech. Its terms could be

understood to cover an investigator closing a door to a room (and thereby "possess[ing]" the

area) to record activities undetected. Likewise, any release of information from an investigation

that results in a boycott or lost sales could be understood as interfering with the "ownership" of

the business.

       112.     The text of the Ag-Gag law confirms what its structure and background suggest:

its goal is stop communications, which implicates the First Amendment's protections.

   C. The Arkansas Ag-Gag Law Targets Speech that Warrants the Strongest Protections:
       Speech With Particular Viewpoints and Content and Used to Petition the Government.

       113.     The central function of the First Amendment is to protect against laws that target

speech because of its "ideas, its subject matter, or its content." Police Dep 't of Chi. v. Mosley,

408 U.S. 92, 95-96 (1972). "Government discrimination among viewpoints-or the regulation of

speech based on 'the specific motivating ideology or the opinion or perspective of the speaker'-

is a 'more blatant' and 'egregious form of content discrimination,"' but strict scrutiny applies to

laws that restrict speech based on its content or its viewpoint. Reed v. Town of Gilbert, 135 S. Ct.

2218, 2230 (2015) (quoting Rosenberger v. Rector and Visitors of Univ. of Va., 515 U.S. 819,

829 (1995)).


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       114.    Moreover, the First Amendment protects individuals' "use [of] the channels and

procedures of state and federal agencies and courts to advocate their causes and points of view."

Cal. Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 510-11 (1972). Because this

protection is not only enshrined in the freedom of speech, but also in the freedom to petition, the

Supreme Court has suggested that something even stronger than strict scrutiny applies when laws

interfere with this advocacy: such statutes can only stand "in the most extreme circumstances."

McDonaldv. Smith, 472 U.S. 479,486 (1985) (Brennan, Marshall & Blackmun, JJ., concurring).

       115.    The Arkansas Ag-Gag law is inconsistent with all of these protections.

       116.    By its plain terms, the law only prohibits activities if they occur in an area "not

accessible to or not intended to be accessed by the general public." Ark. Code §§ 16-118-

l 13(a)(2), (b). Thereby, the law provides the owner or operator of the facility complete

discretion to determine what is covered, as he or she can declare whether an area was "intended

to be accessed." Id § 16-118-113(a)(2). The owner's or operator's viewpoint controls what can

be expressed and what will be subject to liability. Numerous courts have recognized that

providing "unbridled discretion" to select what speech can and cannot occur is just a means of

"hid[ing] unconstitutional viewpoint discrimination." Child Evangelism Fellowship of Md., Inc.

v. Montgomery Cty. Pub. Sch., 457 F.3d 376,386 (4th Cir. 2006) (collecting cases).

       117.    In addition, by singling out undercover investigations that result in "damages" to

"the owner or operator" for special penalties, see, e.g., Ark. Code§§ 16-118-113(b), (c)(l)-(2),

the Arkansas Ag-Gag law reveals it is focused on information owners and operators wish to hide.

That is, the law seeks to shield owners and operators from speech that would reveal their

misconduct, while allowing speech they wish to make--its restrictions only apply to speech with

particular content and viewpoints.



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        118.   The legislative history confirms this objective, explaining the law seeks to stop

the speech of "activist[s]," who have a different view of what is "cruel" than the owner or

operator of an investigated facility. The Arkansas Ag-Gag law seeks to silence viewpoints with

which owners and operators disagree and speech with a content that could suggest cruelty.

        119.   Moreover, although the legislators warned against creating a record suggesting

the statute is motivated by a desire to suppress speech about agriculture, by issuing that warning

they did exactly that, confirming the statute is targeted at speech with a particular content: speech

about factory farms and industrial animal agriculture.

        120.   Further, the fact that the Ag-Gag law carves out an exception for employees

reporting information "protect[ed] . . . under state or federal law," demonstrates its intent to

inhibit individuals from petitioning the government. Ark. Code§ 16-l 18-l 13(f)(l). Specifically,

the law deters investigators and the advocacy organizations for which they work from lobbying

with the information gathered or otherwise using it in advocacy, creating liability if they release

the information in legislative letters, meetings, testimony, or other channels that could create

political pressure-all while freeing them from liability if they keep their complaints to forms

and fora of others' choosing.

        121.   Indeed, § 16-l 18-l 13(f)(l) seeks to channel whistleblowers' speech so narrowly

that it interferes with a variety of speech that laws encourage, but do not "protect[]." Id. § 16-

l 18-l 13(f)(l). For instance, the Clean Water Act requires states to "assemble and evaluate all

existing and readily available water quality-related data and information," including any

information about "[w]aters for which water quality problems have been reported by ...

members of the public." 40 C.F.R. § 130.7(b)(5). In this manner, federal law encourages public

participation in water regulation, but does not ''protect[]" it, so that a whistleblower that provides



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information on pollution would still stand in violation of the Arkansas Ag-Gag law. Ark. Code

§ 16-118-113(f)(l). Thereby, the Ag-Gag law further chills communications with the

government.

          122.   The Arkansas Ag-Gag law is one of the most "egregious" forms of restrictions on

First Amendment rights. See Reed, 135 S. Ct. at 2223 (internal quotations omitted).

   D. The Arkansas Ag-Gag Law's Restrictions on Speech Are Sweeping In Their Breadth.

          123.   In addition to inhibiting undercover investigations meant to release information to

the public and petitioning the government, when § 16-118-113(b) is construed in light of the

types of conduct § 16-118-113(c) states the statute regulates, the scope of the Ag-Gag law's

penalties for speech are staggering.

          124.   Section 16-118-113(a) makes clear the statute provides a cause of action to any

"business property" or even "[r]esidential propert[ies] used for business purposes." Ark. Code

§§ 16-118-113(a)(l)(A), (C). Section 16-118-113(b) extends the statutes to any "person" who

"exceeds [their] authority to enter the nonpublic area." Id. § 16-118-113(b). Section 16-118-

113(c) establishes the statute can be breached by communicating information. See id. § 16-118-

113(c).

          125.   Therefore the Arkansas Ag-Gag law would penalize a parent who obtained access

to the "nonpublic area[s]" of a daycare, went to another room-exceeding their authority to

move around the nonpublic areas-and released any notes, recordings or other information about

what they witnessed in that other room to parents, the media, or in any manner except one

formally "protect[ed]" by law. Id. §§ 16-118-113(b), (f)(l).

          126.   It likewise would create liability for a customer who walked into the backroom of

a store and saw illegal conduct, documented it, and then called the press.



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        127.   Indeed, this fear of whistleblowers being unable to report abuse or other crimes is

exactly why AARP and the Wounded Warrior Project opposed the North Carolina Ag-Gag law,

N.C. Gen. Stat.§ 99A-2, on which the Arkansas statute is modeled.

        128.   It is also why the North Carolina Governor, Pat McCrory, vetoed the North

Carolina law-although that veto was overridden by a North Carolina legislature that is beholden

to industrial agriculture's concerns.

        129.   Nonetheless, the Arkansas Ag-Gag law restricts such speech.

                                    CLAIMS FOR RELIEF
                                  FIRST CAUSE OF ACTION
                                      (First Amendment)

        130.   Plaintiffs incorporate by reference all other paragraphs of this complaint as if

those allegations were set out explicitly herein.

        131.   The Arkansas Ag-Gag law violates the First Amendment.

        132.   It does so in at least two ways: (1) it is overbroad; and (2) numerous provisions

directly regulate speech and cannot withstand any constitutional scrutiny.

        133.   "The overbreadth doctrine permits the facial invalidation of laws which inhibit the

exercise of First Amendment rights if the impermissible applications of the law are substantial

when judged in relation to the statute's plainly legitimate sweep." Snider v. City of Cape

Girardeau, 752 F.3d 1149, 1157 (8th Cir. 2014).

        134.   Here, as explained above, the core of the Arkansas Ag-Gag law implicates First

Amendment-protected speech. It restricts communicating information and the gathering of

information to be used in speech. It also restricts a large variety of important speech, including to

the government and on matters of public concern. It particularly suppresses expressions related

to the misconduct of agricultural entities, but is not limited to squelching that speech.



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        135.    None of these attacks on speech are justified. The legislative record establishes no

need for the Ag-Gag law. See Ex. A. Nor did the legislature consider any alternatives to targeting

speech. See id. Thus, the prohibitions on speech are unconstitutional.

        136.    Indeed, the statute has no truly legitimate sweep. Its entire purpose is to

discourage and limit the public disclosure of and discourse about truthful information gathered

through undercover investigations. The only other rationale offered for the statute, to stop

corporate espionage, is already addressed by Arkansas law, making that justification for the Ag-

Gag statute nothing more than a fa~de, and illegitimate.

        137.    That the statute might, accidently, regulate some constitutionally-unprotected

activities is insufficient to save the law under the overbreadth doctrine. A law that prohibits a

substantial amount of speech that the First Amendment permits is overbroad even though the

State could lawfully punish some of the conduct regulated by the law. See, e.g., United States v.

Stevens, 559 U.S. 460,473 (2010).

        138.    Therefore, Plaintiffs are entitled to a declaratory ruling that the Arkansas Ag-Gag

law is unconstitutional and unenforceable, as well as prospective relief enjoining Defendants

from enforcing the Ag-Gag law so that it will no longer inhibit Plaintiffs' constitutionally-

protected activities.

        139.    Moreover, even if the Arkansas Ag-Gag law is not unconstitutionally overbroad,

it can only stand, and be enforced, if Arkansas Code§ 16-118-113 is held unconstitutional to the

extent it covers employment-based undercover investigations, such as the activities described in

Arkansas Code§§ 16-118-113(c)(l)-(3), (5), or equivalent activities conducted by others-such

as employees of another entity who uses his or her employment to gain access to and gather

information from a target-as encompassed by § l 6- l l 8-l 13(b). Compare Ark. Code § 16-118-



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l 13(c) (covering the activities of "an employee" regarding his or her "employer's" information),

with id. § 16-118-113(b) (covering any ''person" who gathers information from "a commercial

property").

        140.    That is, the Court should hold Arkansas' Ag-Gag law unconstitutional and

unenforceable to the extent it prohibits an individual gathering and ''us[ing]" information-

including through recordings, or the placing of "surveillance device[ s]" on property-or

penalizes the harm caused by the public release of accurate information regarding an entity's

practices. See, e.g., Ark. Code§§ 16-l 18-113(c)(l)-(3).

        141.    The relevant provisions directly regulate using information (speech) and

recording (speech). See, e.g., id.

        142.    They also must be construed to limit the gathering of information for public

disclosure, which is protected by the First Amendment and an activity of great public import.

See, e.g., Arkansas Code§ 16-118-113(c)(5).

        143.    Subsection (b) extends these First Amendment restrictions beyond "employee[s]"

to any "person." Ark. Code§ 16-118-113(b).

        144.    Arkansas cannot justify these restrictions on speech.

        145.   As explained above, these restrictions on First Amendment activities are subject

to the strictest of scrutiny because they limit communications with the government, and are

viewpoint discriminatory and content based.

        146.   However, even if they are subject to less scrutiny they cannot stand.

        147.    Even for laws that are subject to intermediate scrutiny, the state must first attempt

to "seriously address[] the problem" through means other than targeting speech, and those efforts

must have proven ineffective before a restriction on First Amendment rights is allowed.



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Mccullen V. Coakley, 573 U.S. 464,497 (2014).

        148.    The legislative record here fails to establish there was any "problem" to address

and indicates that Arkansas did not consider any alternatives to attacking speech, let alone work

to "seriously address[]" whatever unidentifiable problem it might now contend existed before

restricting speech. Id.; see also Ex. A. Therefore, the Arkansas Ag-Gag law's restrictions on

speech cannot stand.

        149.    Thus, Plaintiffs are entitled to a declaratory ruling that the Arkansas Ag-Gag law

cannot constitutionally penalize employment-based undercover investigations like the First

Amendment-protected activities described in Arkansas Code §§ 16-l 18-113(c)(l)-(3), (5}-

whether they are conducted by the "employee" of the target operation (and covered by § 16-118-

113(c)), or the employee of another entity who uses that employment to gain access to the target

operation (and thus covered by section 16-l 18-l 13(b)}-or squelch speech engaged in by anyone

else, as restricted by § l 6- l l 8-113(b). Plaintiffs are also entitled to prospective relief enjoining

Defendants from enforcing Arkansas Code § 16-118-113 to penalize such activities so that the

law will no longer inhibit Plaintiffs' constitutionally-protected activities.

        150.   Plaintiffs have no other adequate remedy at law.

                                 SECOND CAUSE OF ACTION
                                  (Equal Protection of the Laws)

        151.    Plaintiffs incorporate by reference all other paragraphs of this complaint as if

those allegations were set out explicitly herein.

        152.   The Equal Protection Clause of the Fourteenth Amendment prohibits abridgments

of fundamental rights, including the rights protected by the First Amendment.

        153.   Thus, because the Arkansas Ag-Gag law violates the First Amendment it also

violates the Equal Protection Clause.

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        154.    Therefore, Plaintiffs are entitled to a declaratory ruling that the Arkansas Ag-Gag

law is unconstitutional and unenforceable, as well as prospective relief enjoining Defendants

from enforcing an unconstitutional law.

        155.    Plaintiffs have no other adequate remedy at law.

                                      PRAYER FOR RELIEF

        Plaintiffs respectfully request an order and judgment:

        1.      Declaring that the Arkansas Ag-Gag law, Ark. Code § 16-118-113, violates the

United States Constitution on its face and as applied to Plaintiffs;

        2.      In the alternative Plaintiffs request a declaration that Arkansas Code § 16-118-113

cannot constitutionally be used to punish the activities described in Arkansas Code §§ 16-118-

l 13(c)(l)-(3), (5), or any individual engaging in equivalent activities that are encompassed by

Arkansas Code § 16-118-113(b), because to do so would violate the United States Constitution

on its face and as applied to Plaintiffs;

        3.      Permanently enjoining Defendants, as well as their officers, agents, employees,

attorneys, and all persons in active concert or participation with them, from enforcing the

unconstitutional law;

        4.      Awarding any other such relief as the Court may deem just and proper.




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         June 25, 2019           Respectfully submitted,



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                  Exhibit A
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            MINUTES PACKET
JUDICIARY COMMITTEE - HOUSE
          FEBRUARY 28, 2017
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                                                              91st General Assembly
                                                              Regular Session, 2017
                                                               Committee Minutes
                                                       JUDICIARY COMMITTEE- HOUSE
CHAIRS: Rep. Ma~ew J_. Shepllerd, Chair                                       COMMITTEE STAFF: Rebeca Hal49Y/Judy Steelman

DATE:      02/28/201710:00:00 AM                                              LOCATION: Room 149


........
BILLS OR RESOLUTIONS CONSIDERED:

HB1658
              -
              Tucker
                                     Mallon
                                     DoPau
                                                                                 MadeRw
                                                                                 Tucker
                                                                                              -    ·a.,       ReauNa
                                                                                                              Carried-Voice Vote
SCMR2         Bond                   DoPaaa                                      Tucker                       Carried-Voice Vote
HB1198        Lundstrum              Concur in Senate Amendment                  House                        Carried-Voice Vote
HB1542        Shepherd               DoPaaa                                      Shepherd                     Carried-Voice Vote
HB1668        Lemons                                                                                          Puled Down By Sponsor
                        -~
HB1685        Vaught                 Do Pass                                     Drown                        Carried-Voice Vote
S8102         Rice                   Expunge Vote by which Amendment Paesed      Ballinger                    Carried-Voice Vote
S8136         J. Hutchinson                                                                                   No Action Taken
HB15TT        Hammer                 Do Pass                                     Tosh                         Carried-Voice Vote
HB1578        Hammer                 DoPaaa                                      8. Smith                     carried-Voice Vote
HB1382        Gazaway                                                                                         No Action Taken
HB1251        Walker·- ····--                                                                                 No Action Taken
HB1629        Tucker                                                                                          No Action Taken
               ···-·- -·-·- -·---·
HB1630        Tucker                                                                                          No Action Taken
HB1631        Tucker                                                                                          No Action Taken
HB1173        Tucker                                                                                          No Action Taken
HB1175        Tucker                                                                                          No Action Taken
HB1238        Gazaway                                                                                         No Action Taken
HB1248        J. Williams                                                                                     No Action Taken
                      . -

H81288        Murdock                                                                                         No Action Taken
HB1417        Sturch                                                                                          No Action Taken
HB1433        Baltz                                                                                           No Action Taken
                                                                                                                                Page 1 of2
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Measure   Soonaor             MCJtion                              Made Bv   SecondBv     ResulB
HB1055    Hammer                                                                          No Action Taken
HB1657    Gazaway                                                                         No Action Taken
HB1659    Tucker                                                                          No Action Taken
HB1663    Boyd                                                                            No Action Taken
HB1685    Tucker                                                                          No Action Taken
                   -·-~ . -
HB1686    trucker                                                                         No Action Taken
              ..
HB1687    Tucker                                                                          No Action Taken
S8113     J. Hutchinson                                                                   No Action Taken
HB1483    Shepherd                                                                        No Action Taken
HB1713    Lowery
                      ·-- -                        ···---·---·-·
                                                                                          No Action Taken
                                                                                                                   ---




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                                  AGENDA (REVISED 2/27/17@5:30 p.m.)
                                              Added BIiis
                                     House Committee on Judiciary
                                        91st General Assembly
                                         Regular Session, 2017

                                             Tuesday, February 28, 2017
                                                      10:00 AM
                                              Room 149, State Capitol
                                               Little Rock, Arkansas


 Rep.MatlhewJ.Shepherd,Chaw                Rep. David Whitaker                      Rep. Lanny Fite
 Rep. Dwight Tosh, Vice-Chair              Rep. Rebecca Petty                       Rep. ~ Nicks, Jr.
 Rep. Jeremy Gilam                         Rep. Trevor Drown                        Rep. Brandt Smith
 Rep. Douglas House                        Rep. Michelle Gray                       Rep. John Maddox
 Rep. Chartene Fite                        Rep. Charles Blake                       Rep. Jinmy Gazaway
 Rep. Bob Ballinger                        Rep. Clarke Tucker                       Rep. Carol Dalby
                                           Rep. Laurie Rushing                      Rep. Sarah Capp



                                           CONCUR IN SENATE AMENDMENT
Number            Sponsor       Subtitle
HB1198            Lundstrum     TO ALLOW AN OUT-OF-STATE LAW ENFORCEMENT OFFICER TO FOLLOW A VEHICLE
                                INTO ARKANSAS TO INVESTIGATE A FELONY OR THE OPERATION OF A VEHICLE
                                WHILE THE DRIVER IS INTOXICATED, IMPAIRED, OR UNDER THE INFLUENCE.

                                            RE-REFERRED TO COMMITTEE
Number            Sponsor       Subtitle
HB1382            Gazaway       TO AMEND THE LAW CONCERNING THE COLLECTION OF A SMALL ESTATE BY A
                                DISTRIBUTEE; AND TO ESTABLISH PROCEDURES TO BE FOLLOWED AFTER A CLAIM IS
                                FILED AGAINST A SMALL ESTATE.

                                                   REGULAR AGENDA
Number            Sponsor       Subtitle
H81251            Walker        TO CREATE THE "HELPING OUR PEOPLE EXCEL (H.O.P.E.) ACT OF 2017"; AND FOR
                                OTHER PURPOSES.
HB1542            Shepherd      ADDRESSING THE SEALING OF A PERSON'S FELONY RECORD WHEN THE PERSON IS A
                                FIRST-TIME FELONY OFFENDER.
HB1577            Hammer        CONCERNING THE OFFENSE OF ARSON; ANO CONCERNING THE STATUTE OF
                                LIMITATIONS FOR ARSON.
HB1578            Hammer        CONCERNING OFFENSES INVOLVING RIOTS, INTERFERENCE WITH EMERGENCY
                                MEDICAL SERVICES PERSONNEL OR FIRST RESPONDERS, DISORDERLY CONDUCT,
                                ANO OBSTRUCTING A HIGHVVAY OR OTHER PUBLIC PASSAGE; AND ESTABLISHING
                                CIVIL LIABILITY.
HB1629            Tucker        TO PROTECT VICTIMS OF DOMESTIC ABUSE AND STALKING; AND PROHIBITING A
                                PERSON CONVICTED OF MISDEMEANOR DOMESTIC BATTERING OR STALKING FROM
                                POSSESSING A FIREARM.
HB1630            Tucker        TO PROTECT CHILDREN FROM UNATTENDED LOADED FIREARMS; AND TO CREATE
                                THE OFFENSE OF NEGUGENTLY ALLOWING ACCESS TO A FIREARM BY A CHILD.
HB1§31            Tucker        CONCERNING A WARRANTLESS ARREST FOR DOMESTIC ABUSE.
HB1173            Tucker        TO AMEND AND MAKE CONSISTENT THE OFFENSES OF SEXUAL INDECENCY WITH A
                                CHILO AND SEXUAL ASSAULT IN THE FOURTH DEGREE; AND TO AMEND THE
                                DEFINITION OF "SEXUAL ABUSE" UNDER THE CHILD MALTREATMENT ACT.
HB1175            Tucker        TO REQUIRE LIFETIME REGISTRATION ON THE ARKANSAS SEX OFFENDER REGISTRY
                                FOR A PERSON CONVICTED OF RAPE WHEN THE RAPE INVOLVED THE USE OF FORCE.
HB1236            Gazaway       TO   PROTECT      THE    PRIVACY   OF   SURVIVING   FAMILY    MEMBERS    OF   A   LAW



Notice: SIience your cell phonn. Keep your personal conversations to a minimum. Observe restrictions
        designating areas as "Members and Staff Only"
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                          ENFORCEMENT OFFICER WHO DIES IN THE LINE OF DUTY; ANO TO EXEMPT CERTAJN
                          LAW ENFORCEMENT RECORDS FROM DISCLOSURE; AND TO DECLARE AN
                          EMERGENCY.
HB1248    J. Williams     TO CREATE AN EXEMPTION UNDER THE FREEDOM OF INFORMATION ACT OF 1967
                          CONCERNING CERTAIN LAW ENFORCEMENT INVESTIGATIVE RECORDS.
HB1268    Murdock         CONCERNING THE USE OF AN IGNITION INTERLOCK DEVICE.
HB1417    Sturch          CONCERNING THE OFFENSE OF SEXUAL SOLICITATION; PROVIDING FOR
                          IMPOUNDMENT OF A MOTOR VEHICLE; AND PROVIDING FOR HUMAN TRAFFICKING
                          AWARENESS EDUCATION FOR EDUCATORS.
$8102     Rice            TO CLARIFY THE LAW CONCERNING THE FINES, FEES, AND COSTS THAT MAY BE
                          ASSESSED FOR A VIOLATION OF THE MANDATORY SEAT BELT USE LAW.
HB1433    Baltz           TO PROHIBIT A REGISTERED SEX OFFENDER FROM LMNG NEAR A FACILITY WHERE A
                          PERSON WITH A MEDICALLY DIAGNOSED MENTAL DISABILITY OR PHYSICAL
                          DISABILITY RESIDES.
HB1055    Hammer          TO AMEND THE DEFINlllON OF "MARITAL PROPERTY" FOR PURPOSES OF DIVISION OF
                          PROPERTY IN AN ACTION FOR DNORCE.
HB1657    Gazaway         TO MAKE LEGISLATNE CORRECTIONS AND TO REPEAL OBSOLETE LAWS FOUND IN
                          TITLE27OFTHEARKANSASCOOE
!j81658   Tucker          CONCERNING THE OFFENSE OF SEXUAL ASSAULT IN THE THIRD DEGREE.
HB1659    Tucker          CONCERNING INSTALLMENT PAYMENTS BY A PERSON WHO        owes   COURT COSTS,
                          FINES, OR RESTITUTION TO A CIRCUIT COURT.
HB1665    Vaught          TO CREATE A CAUSE OF ACTION FOR UNAUTHORIZED ACCESS TO ANOTHER
                          PERSON'S PROPERTY.
HB1663    Boyd            TO BE KNOWN AS THE MENTAL HEALTH SPECIALTY COURT ACT OF 2017; ANO
                          CONCERNING MENTAL HEALTH SPECIALTY COURTS.
HB1668    Lemons          CONCERNING THE OFFENSE OF DRIVING OR BOATING WHILE INTOXICATED; AND
                          CONCERNING THE DISPOSITION OF A DEFENDANT CONVICTED OF DRIVING OR
                          BOATING WHILE INTOXICATED.
HB1685    Tucker          TO CLARIFY THE CRIMINAL BACKGROUND CHECKS REQUIRED FOR AN APPLICANT OR
                          EMPLOYEE OF A CHILD CARE FACILITY OR A CHURCH-EXEMPT CHILD CARE FACILITY.
HB1686    Tucker          CONCERNING THE TRACKING OF AND ACCUMULATION OF DATA CONCERNING THE
                          FAMILIAL OR RESIDENTIAL STATUS OF A VICTIM OF A SEX OFFENSE.
H81687    Tucker          CONCERNING A REGISTERED SEX OFFENDER ON THE CAMPUS OF A PRIVATE
                          SCHOOL.
~         J. Hutchinson   TO REMOVE A DRIVER'S LICENSE SUSPENSION OR REVOCATION AS AN AVAILABLE
                          PENALTY FOR OFFENSES NOT RELATED TO DRMNG A MOTOR VEHICLE.
~         J. Hutchinson   TO CREATE THE CRIMINAL JUSTICE EFFICIENCY AND SAFETY ACT OF 2017.
~         Bond            IN RESPECTFUL MEMORY OF JUSTICE DONALD CORBIN AND IN RECOGNITION OF HIS
                          MANY CONTRIBUTIONS TO THE STATE OF ARKANSAS.
HB1483    Shepherd        TO MAKE LEGISLATIVE CORRECTIONS TO AND REPEAL OBSOLETE LAWS CONTAINED
                          IN TITLE 27 OF THE ARKANSAS CODE.
HB1713    Lowery          TO ESTABLISH MURDER IN THE SECOND DEGREE AS A SEVENTY-PERCENT CRIME.

                                          DEFERRED BILLS
Number    Sponsor         Subtitle
HB1095    Johnson         CONCERNING THE REQUIREMENTS FOR A CONCEALED HANDGUN LICENSE FOR A
                          CURRENT OR FORMER MEMBER OF THE UNITED STATES ARMED FORCES.
HB1265    Richey          CONCERNING THE POSSESSION AND CARRYING OF A CONCEALED OR
                          UNCONCEALED HANDGUN; TO ESTABLISH A LICENSE TO CARRY AN UNCONCEALED
                          HANDGUN; AND TO MAKE TECHNICAL CORRECTIONS.
HB1152    Watson          CONCERNING THE ABILITY OF AN AUXILIARY LAW ENFORCEMENT OFFICER TO CARRY
                          A CONCEALED HANDGUN AND TO BE EXEMPTED FROM THE LICENSING
                          REQUIREMENTS TO CARRY A CONCEALED HANDGUN.
tjB1444   Ballinger       TO REVISE CERTAIN EMINENT DOMAIN LAWS THAT ARISE OUT OF PROPERTY RIGHTS
                                        Pagel of3
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                  SECURED UNDER THE ARKANSAS CONSTITUTION, ARTICLE 2, § 22.
HB11n   Tucker    INCREASING THE AVAILABLE SENTENCES FOR CERTAIN SEX OFFENSES WHEN
                  COMMITTED AGAINST A FAMILY OR HOUSEHOLD MEMBER




                              Page3 of3
         Case 4:19-cv-00442-JM Document 1 Filed 06/25/19 Page 50 of 92

                                   ATTENDANCE

                               91 st General Assembly
                               Regular Session, 2017

                         JUDICIARY COMMITTEE- HOUSE

                           Tuesday, February 28, 2017


MEMBERS                                             PRESENT    ABSENT
Rep. Bob Ballinger                                      X
Rep. Charles Blake                                      X
Rep. Sarah Capp                                         X
Rep. Carol Dalby                                        X
Rep. Trevor Drown                                       X
Rep. Lanny Fite                                         X
Rep. Charlene Fite                                      X
Rep. Jimmy Gazaway                                                X
Rep. Jeremy Gillam                                                X
Rep. Michelle Gray                                      X
Rep. Douglas House                                      X
Rep. John Maddox                                        X
Rep. Milton Nicks, Jr.                                  X
Rep. Rebecca Petty                                      X
Rep. Laurie Rushing                                     X
Rep. Brandt Smith                                       X
Rep. Clarke Tucker                                      X
Rep. David Whitaker                                     X
Rep. Dwight Tosh, Vice Chair                            X
Rep. Matthew J. Shepherd, Chair                         X
TOTALS                                                  18        2
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                                  91st General Assembly
                                  Regular Session, 2017
                                    Form for Testimony
                                        Before the
                          JUDICIARY COMMITTEE- HOUSE
LOCATION: Room 149                        DATE: February 28, 2017
STAFF: Rebeca Haley/Judy Steelman         TIME: 10:00 AM
  B111/Reeolutlon            Name                  lntarat Represented         Position
l
!HB1658          LORI KUMPURIS,              PROSECUTOR COORDINATOR'S
                                                                           (For/Aaainstllnfo)
                                                                         For
!                DEP. DIRECTOR               OFFICE
IHB1542          BRAOCAZORT,                 ARK CRIME INFORMATION       For
                 ADMINISTRATOR               CENTER
jHB1668          SARAH WELLS                 CITIZEN                      For
!HB1665          ROBERT COON                 IMPACT MANAGEMENT GROUP     iFor
 Case 4:19-cv-00442-JM Document 1 Filed 06/25/19 Page 52 of 92




             MINUTES PACKET
JUDICIARY COMMITTEE - HOUSE
               MARCH 2, 2017
                               Case 4:19-cv-00442-JM Document 1 Filed 06/25/19 Page 53 of 92


                                                     91st General Assembly
                                                      Regular Session, 2017
                                                       Committee Minutes
                                                 JUDICIARY COMMITTEE- HOUSE
CHAIRS: Rep. Matthew J. Shep_herd, Chair                                COMMmEE STAFF: Rebeca Haley/Judy St.aelman

DATE:     03/02/2017 10:00:00 AM                                        LOCATION: Room 149

BILLS OR RESOLUTIONS CONSIDERED:
Measure      Saonsor         Motion                                         Made a,,,     Second Bv    R•ults
HB1665       Vaught          Adopt Amendment BPG380                         Tucker                     Carried-Voice Vote
HB1665       Vaught          Do Pass as Amended                             Tucker                     Carried-Voice Vote
SCR6         S. Fla.Ners     Do Pass                                        D. Whitaker                Carried-Voice Vote
HB1236       Gazaway         Do Pass                                        Tosh                       Carried-Voice Vote
HB1663       Boyd            Adopt Amendment BPG395                         M. Gray                    carrted-VOice Vote
HB1663       Boyd            Do Pass as Amended                             Dal>y                      Carried-Voice Vote
S8136        J. Hutchinson   Do Pass                                        !Tucker                    Carried-Voice Vote
HB1483       Shepherd        Concur in Senate Amendment                     Shepherd                   Carried-Voice Vote
HB1685       Tucker          Adopt Amendment JMB339                         Tucker                     Carried-Voice Vote
HB1685       Tucker          Do Pass as Amended                             Tucker                     Carried-Voice Vote
S8102        Flippo          Special Order of Business, 10:00 a.m., March    BalHnger                  Carried-Voice Vote
                             7,2017
HB1382       Gazaway                                                                                   No Action Taken
HB1251       Walker                                                                                    No Action Taken
HB1629       Tucker                                                                                    No Action Taken
HB1630       ITucker                                                                                   No Action Taken
HB1631       Tucker                                                                                    No Action Taken
HB1173       Tucker                                                                                    No Action Taken
HB1175       Tucker                                                                                    No Action Taken
HB1268       Murdock                                                                                   No Action Taken
HB1417       Sturch                                                                                    No Action Taken
HB1055       Hammer                                                                                    No Action Taken
                                                                                                                            Page 1 of 2
                                                           .....
                            Case 4:19-cv-00442-JM Document 1 Filed 06/25/19 Page 54 of 92

........
HB1657
           S--
           Gazaway
                           Molan                                       SeccndBw       Resulla
                                                                                      No Action Taken
HB1659     Tucker                                                                     No Action Taken
HB1668     Lemons                                                                     No Action Taken
HB1686     Tucker                                                                     No Actton Taken
HB1687     Tucker                                                                     No Action Taken
S8113      J. Hutchinson                                                              No Action Taken
HB1713     Lowery                                                                     No Action Taken
HB1737     Collins                                                                    No Action Taken
HB1747     0. Whitaker                                                                No Action Taken
HB1756,    Collins                                                                    No Action Taken
HB1759     Dalby                                                                      No Action Taken
HB1760     Dalby                                                                      No Action Taken
HB1763     Della Rosa                                                                 No Action Taken
HB1764     Maddox                                                                     No Action Taken
HB1m       Richey                                                                     No Action Taken
HB1784     Eaves                                                                      No Action Taken
HB1787     Shepherd                                                                   No Action Taken
S8294      Irvin                                                                      No Action Taken




                                                                                                        Page2 of 2
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               Hall of the House of Representatives
                   91st General Assembly - Regular Session, 2017
                                   Amendment Form


                                 SubtideofHOUle Bill No. 1665
     TO CREATE A CAUSE OF ACTION FOR UNAlJfHORIZED ACCESS TO ANOTHER PERSON'S
                                         PROPERTY.



                         Amendment No. 1 to Bouse Bill No. 1665

Amend House Bill No. 1665 as originally introduced:
Delete everything after the enacting clause and substitute the following:
      "SECTION 1. Arkansas Code Title 16, Chapter 118, is amended to add an
additional section to read as followss
      16-118-113. Civil cause of action for µne.uthorized access to property.
      (a) As used in this section:
             (1) "COJIID@T'Cial property" means:
                   CA) A business property;
                   CB> Agricultural or timber production operations,
including buildings and all outdoor areas that are not open to the public;
and
                   CC) Residential property used for business purposes; and
             (2) "Nonpublic area" means an area not accessible to or not
intended to be accessed by the general public.
      (b) A person who knor(ingly gains access to a nonpublic area of a
commercial property and engages in an act that exceeds the person's authority
to enter the nonpublic area is liable to the owner or operator of the
commercial property for any damages sustained by the owner or operator.
      (c) An act that exceeds a person's authority to enter a nonpublic area
of commercial property includes an employee who knowingly enters a nonpublic
area of commercial property for a reason other than a bona fide intent of
seeking or holding employment or doing business with the employer and without
authorization subsequently:
             Cl> Captures or removes the employer"s data, paper, records, or
any other documents and uses the information contained on or in the
employer's data, paper, records, or any other documents in a manner that
damages the employer;
             (2) Records images or sound occurring within an employer's
commercial property and uses the recording in a manner that damages the
employer;
             (3) Places on the commercial property an unattended camera or
electronic surveillance device and uses the unattended camera or electronic
surveillance device to record images or data for an unlawful purpose;



1111111111       BPG380 - 03-02-2017 08:49:11                         Page 1 of 2
         Case 4:19-cv-00442-JM Document 1 Filed 06/25/19 Page 56 of 92




                (4)   Conspires in an organized theft of items belonging to the
employer; or
             (5) Commits an act that substantially interferes with the
ownership or possession of the commercial property.
       (d) A person who knowingly directs, assists, compensates, or induces
another person to violate this section is jointly liable.
       (e) A court may award to a prevailing party in an action brought under
this section one (1) or more of the following remedies:
             (1) Equitable relief;
             (2) Compensatory damages;
             (3) Costs and fees, including reasonable attorney's fees; and
             (4) In a case where compensatory damages cannot be quantified, a
court may award additional damages as otherwise allowed by state or fed1ral
law in an amount not to ex.s;eed five thousand dollars ($5,000) for each day,
or a portion of a day. that a defendant has acted 1n violation of subsection
Cb) of this section, and that in the court's discretion are compensurate with
the harm caused to the plaintiff by the defendant's conduct in violation of
this section.
       (f) This section does not:
             (1) Diminish the protections provided to employees under state
or federal law; or
             (2) Limit any other remedy available at common law or provided
by law.
       (g} This section does not apply to a state agency, a state-funded
institution of higher education, or a law enforcement officer engaged in a
lawful investigation of commercial property or of the owner or operator of
the commercial property."



ne Amcndmentwu fflld _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
By: Repmcntative Vaugbt
BPGffDW-~2-201708:49:11
BPG380                                                                     CbiefOerk




BPG380- 03-02-2017 Ol:49:11   Amendment No. I to Home Bill No. 1665        Pa1e2of2
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                                     AGENDA (Revised 3/1/2017@5:20 p.m.)
                                                   Added BIiis
                                        House Committee on Judiciary
                                            91 st General Assembly
                                            Regular Session, 2017

                                                 Thursday, March 02, 2017
                                                          10:00 AM
                                                  Room 149, State Capitol
                                                   Little Rock, Arkansas


 Rep. Matthew J. Shepherd, Chair              Rep. David Whitaker                   Rep. Lanny Fite
 Rep. OMght Tosh, Vice-Chair                  Rep. Rebecca Petty                    Rep. MHton Nicks, Jr.
 Rep. Jeramy GIiiam                           Rep. Trevor Drown                     Rep. Brandt Smith
 Rep. Douglas House                           Rep. Michelle Gray                    Rep. John Maddox
 Rep. Charlene Fite                           Rep. Charles Blake                    Rep. Jimmy Gazaway
 Rep. Bob Ballinger                           Rep. Claltce Tucker                   Rep. Carol Dalby
                                              Rep. Laurie Rushing                   Rep. Sarah Capp



                                              CONCUR IN SENATE AMENDMENT
Number            Sponsor          Subtitle
HB1483            Shepherd         TO MAKE LEGISLATIVE CORRECTIONS TO AND REPEAL OBSOLETE LAWS CONTAINED
                                   IN TITLE 27 OF THE ARKANSAS CODE.

                                               RE-REFERRED TO COMMITTEE
Number            Sponsor          Subtitle
HB1382            Gazaway          TO AMEND THE LAW CONCERNING THE COLLECTION OF A SMALL ESTATE BY A
                                   DISTRIBUTEE; AND TO ESTABLISH PROCEDURES TO BE FOLLOWED AFTER A CLAIM IS
                                   RLED AGAINST A SMALL ESTATE.
H81665            Vaught           TO CREATE A CAUSE OF ACTION FOR UNAUTHORIZED ACCESS TO ANOTHER
                                   PERSON'S PROPERTY.

                                                      REGULAR AGENDA
Number            Sponsor          Subtltle
HB1251            Walker           TO CREATE THE •HELPING OUR PEOPLE EXCEL (H.0.P.E.) ACT OF 2017"; AND FOR
                                   OTHER PURPOSES.
HB1629            Tucker           TO PROTECT VICTIMS OF DOMESTIC ABUSE ANO STALKING; AND PROHIBlTING A
                                   PERSON CONVICTED OF MISDEMEANOR DOMESTIC BATTERING OR STALKING FROM
                                   POSSESSING A FIREARM.
HB1630            Tucker           TO PROTECT CHILDREN FROM UNATTENDED LOADED FIREARMS; AND TO CREATE
                                   THE OFFENSE OF NEGUGENTLY ALLOWING ACCESS TO A FIREARM BY A CHILD.
t:H~1631          Tucker           CONCERNING A WARRANTI.ESS ARREST FOR DOMESTIC ABUSE.
HB1173            Tucker           TO AMEND AND MAKE CONSISTENT THE OFFENSES OF SEXUAL INDECENCY WITH A
                                   CHILD ANO SEXUAL ASSAULT IN THE FOURTH DEGREE; AND TO AMEND THE
                                   DERNlTION OF "SEXUAL ABUSE• UNDER THE CHILD MALTREATMENT ACT.
HB1175            Tucker           TO REQUIRE LIFETIME REGISTRATION ON THE ARKANSAS SEX OFFENDER REGISTRY
                                   FOR A PERSON CONVICTED OF RAPE WHEN THE RAPE INVOLVED THE USE OF FORCE.
HB1,36            Gazaway          TO PROTECT THE PRIVACY OF SURVIVING FAMILY MEMBERS OF A LAW
                                   ENFORCEMENT OFFICER WHO DIES IN THE LINE OF DUTY; ANO TO EXEMPT CERTAIN
                                   LAW ENFORCEMENT RECORDS FROM DISCLOSURE; AND TO DECLARE AN
                                   EMERGENCY.
HB126!;!          Murdock          CONCERNING THE USE OF AN IGNITION INTERLOCK DEVICE.
HB1417            Sturch           CONCERNING        THE    OFFENSE   OF   SEXUAL   SOLICITATION;      PROVIDING   FOR



Notice: Silence your cell phones. Keep your personal conversations to a minimum. Observe restrictions
        designating areas as "Members and Statf Only''
           Case 4:19-cv-00442-JM Document 1 Filed 06/25/19 Page 58 of 92




                             IMPOUNDMENT OF A MOTOR VEHICLE; ANO PROVIDING FOR HUMAN TRAFFICKING
                            AWARENESS EDUCATION FOR EDUCATORS.
filUQi     Flippo           TO CLARIFY THE LAW CONCERNING THE FINES, FEES, AND COSTS THAT MAY BE
                            ASSESSED FOR A VIOLATION OF THE MANDATORY SEAT BELT USE LAW.
H81055     Hammer           TO AMEND THE DEFINITION OF "MARITAL PROPERTY" FOR PURPOSES OF DIVISION OF
                             PROPERTY IN AN ACTION FOR DIVORCE.
HB1657     Gazaway          TO MAKE LEGISLATIVE CORRECTIONS AND TO REPEAL OBSOLETE LAWS FOUND IN
                            TITLE 27 OF THE ARKANSAS COOE.
HB1659     Tucker            CONCERNING INSTALLMENT PAYMENTS BY A PERSON WHO OWES COURT COSTS,
                             ANES, OR RESTITIJTION TO A CIRCUIT COURT.
HB1663     Boyd             TO BE KNOWN AS THE MENTAL HEALTH SPECIALTY COURT ACT OF 2017; ANO
                             CONCERNING MENTAL HEALTH SPECIALTY COURTS.
HB1668     Lemons            CONCERNING THE OFFENSE OF DRMNG OR BOATING WHILE INTOXICATED; ANO
                             CONCERNING THE DISPOSITION OF A DEFENDANT CONVICTED OF DRIVING OR
                             BOATING WHILE INTOXJCATEO.
H81685     Tucker           TO CLARIFY THE CRIMINAL BACKGROUND CHECKS REQUIRED FOR AN APPLICANT OR
                             EMPLOYEE OF A CHILO CARE FACILITY OR A CHURCH-EXEMPT CHILD CARE FACILITY.
HB16§6     Tucker            CONCERNING THE TRACKING OF ANO ACCUMULATION OF DATA CONCERNING THE
                             FAMILIAL OR RESIDENTIAL STATUS OF A VICTIM OF A SEX OFFENSE.
HB1687     Tucker            CONCERNING A REGISTERED SEX OFFENDER ON THE CAMPUS OF A PRIVATE
                             SCHOOL
-~         J. Hutchinson     TO REMOVE A DRIVER'S LICENSE SUSPENSION OR REVOCATION AS AN AVAILABLE
                             PENALTY FOR OFFENSES NOT RELATED TO DRMNG A MOTOR VEHICLE.
~          J.Hutchinson      TO CREATE THE CRIMINAL JUSTICE EFFICIENCY ANO SAFETY ACT OF 2017.
H81713     Lowery           TO ESTABLISH MURDER IN THE SECOND DEGREE AS A SEVENTY.PERCENT CRIME.
HB1737     Collins           TO AMEND ANO CLARIFY THE DISCRIMINATION AND RETALIATION PROVISIONS OF THE
                             ARKANSAS CML RIGHTS ACT OF 1893.
HB1747     D. Whitaker       CONCERNING PAROLE ELIGIBILITY OF A PERSON INCARCERATED IN THE
                             DEPARTMENT OF CORRECTION.
t:!BlZS§   Coffins           CONCERNING THE OFFENSE OF LOITERING.
HB1759     Dalby            TO MAKE LEGISLATIVE CORRECTIONS AND TO REPEAL OBSOLETE LAWS CONTAINED
                             IN TITI.E 27 OF THE ARKANSAS CODE.
HB1760     Dalby             TO MAKE TECHNICAL CORRECTIONS TO THE LAW CONCERNING THE ARKANSAS
                             NATURAL HERITAGE COMMISSION.
!:181763   Della Rosa        CLARIFYING THE CRIMINAL OFFENSE OF POSSESSION OF DRUG PARAPHERNALIA.
HB1764     Maddox            REMOVING REFERENCES IN THE ARKANSAS CODE TO JURY COMMISSIONERS. WHICH
                             NO LONGER EXIST.
!:!B1777   Richey            CONCERNING THE FUNDING OF EXPENSES ANO EMPLOYEES OF THE PHILLIPS
                             COUNTY PROSECUTING ATTORNEY IN THE FIRST JUDICIAL DISTRICT.
HB17!M     Eaves             CONCERNING THE QUALIFICATIONS TO BE A LAW ENFORCEMENT OFFICER.
HB1787     Shephera          CONCERNING DRAFTS OF CORRECTIVE LEGISLATION PREPARED BY THE STAFF OF
                            THE ARKANSAS CODE REVISION COMMISSION.
~          Irvin           . CONCERNING THE SENTENCING OF A PERSON UNDER EIGHTEEN YEARS OF AGE; TO
                             DECLARE AN EMERGENCY; AND ESTABLISHING THE FAIR SENTENCING OF MINORS
                             ACT OF 2017.
           S. Flowers        TO COMMEMORATE THE NINETY-FOURTH ANNIVERSARY OF THE UNITED STATES
                             SUPREME COURT RULING IN MOORE V. DEMPSEY.

                                           DEFERRED BILLS
Number     Sponsor         SUbtltle
HB1095     Johnson         CONCERNING THE REQUIREMENTS FOR A CONCEALED HANDGUN LICENSE FOR A
                           CURRENT OR FORMER MEMBER OF THE UNITED STATES ARMED FORCES.
H81265     Richey          CONCERNING THE POSSESSION AND CARRYING OF A CONCEALED OR

                                         Page 2 of3
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                      UNCONCEALED HANDGUN; TO ESTABLISH A LICENSE TO CARRY AN UNCONCEALED
                      HANDGUN; AND TO MAKE TECHNICAL CORRECTIONS.
HB1152   Watson       CONCERNING THE ABILITY OF AN AUXILIARY LAW ENFORCEMENT OFFICER TO CARRY
                      A CONCEALED HANDGUN AND TO BE EXEMPTED FROM THE LICENSING
                      REQUIREMENTS TO CARRY A CONCEALED HANDGUN.
HB1444   Ballinger    TO REVISE CERTAIN EMINENT DOMAIN LAWS THAT ARISE OUT OF PROPERTY RIGHTS
                      SECURED UNDER THE ARKANSAS CONSTITUTION, ARTICLE 2, § 22.
HQlJZZ   Tucker       INCREASING THE AVAILABLE SENTENCES FOR CERTAIN SEX OFFENSES WHEN
                      COMMITTED AGAINST A FAMILY OR HOUSEHOLD MEMBER
HB1248   J. Wdliams   TO CREATE AN EXEMPTION UNDER THE FREEDOM OF INFORMATION ACT OF 1967
                      CONCERNING CERTAIN LAW ENFORCEMENT INVESTIGATIVE RECORDS.
H§1~~~   Baltz        TO PROHIBIT A REGISTERED SEX OFFENDER FROM LIVING NEAR A FACILITY WHERE A
                      PERSON WITH A MEDICALLY DIAGNOSED MENTAL DISABILITY OR PHYSICAL
                      DISABILITY RESIDES.




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                                  ATTENDANCE

                               91st General Assembly
                               Regular Session, 2017

                         JUDICIARY COMMITTEE- HOUSE

                            Thursday, March 02, 2017


MEMBERS                                            PRESENT     ABSENT
Rep. Bob Ballinger                                     X
Rep. Charles Blake                                     X
Rep. Sarah Capp                                        X
Rep. Carol Dalby                                       X
Rep. Trevor Drown                                      X
Rep. Lanny Fite                                        X
Rep. Charlene Fite                                     X
Rep. Jimmy Gazaway                                     X
Rep. Jeremy Gillam                                                X
Rep. Michelle Gray                                     X
Rep. Douglas House                                                X
Rep. John Maddox                                       X
Rep. Milton Nicks, Jr.                                 X
Rep. Rebecca Petty                                     X
Rep. Laurie Rushing                                    X
Rep. Brandt Smith                                      X
Rep. Clarke Tucker                                     X
Rep. David Whitaker                                    X
Rep. Dwight Tosh, Vice Chair                           X
Rep. Matthew J. Shepherd, Chair                        X
TOTALS                                                 18          2
            Case 4:19-cv-00442-JM Document 1 Filed 06/25/19 Page 61 of 92




                                    91st General Assembly
                                      Regular Session, 2017
                                       Form for Testimony
                                            Before the
                            JUDICIARY COMMITTEE- HOUSE
LOCATION: Room 149                           DATE: March 02, 2017
STAFF: Rebeca Haley/Judy Steelman            TIME: 10:00 AM
  B111/R•olution             Name               !     Interest Represented               Position
                                                                                     (For1Against/lnfo)
HB1236           Chad Hinson, Chief             Trumann Police Department/Police    For
                                                Chiefs Assoc.
HB1236           Rick Greene                    Wills Law Firm/Ark. Press Assoc.    Against
HB1236           Paul Calvert                   Citizen                             Against
HB1863           Daniel Shue, Prosecutor        Sebastian Co. Prosecutor's Office   For
HB1863           Mike Rose                      Citizen                             For
HB1685           Tonya Williama, Director       OHS - Division of Child Care and    Informational
                                                Early Childhood Education
          Case 4:19-cv-00442-JM Document 1 Filed 06/25/19 Page 62 of 92




TESTIMONY SIGN IN DISCLAIMER:
The names of persons appearing on this Sign-In sheet who did not provide testimony at the meeting
have not been verified as to the listed person's attendance at the meeting, identify of the person signing
the sheet, or position of the person as either for or against the issue discussed.
            Case 4:19-cv-00442-JM Document 1 Filed 06/25/19 Page 63 of 92


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 Case 4:19-cv-00442-JM Document 1 Filed 06/25/19 Page 64 of 92




             MINUTES PACKET
JUDICIARY COMMITTEE - SENATE
             MARCH 13, 2017
                               Case 4:19-cv-00442-JM Document 1 Filed 06/25/19 Page 65 of 92


                                                      91 st General Assembly
                                                      Regular Session, 2017
                                                        Committee Minutes
                                                 JUDICIARY COMMITTEE - SENATE
CHAIRS: Sen. Jeremy Hutchinson, Chair                                    COMMITTEE STAFF: Rebeca Haley/Judy Steelman


DATE:    03/13/2017 9:00:00 AM                                           LOCATION: Room 171

BILLS OR RESOLUTIONS CONSIDERED:
Menunt      Snonaor            Mdlon                                         Made at           Second at         Reeulls
S840        ~- Clark           DoPaSI                                        Standridge        Rice              Carried-Voice Vote
S8306       A. Clark          lAdopt Amendment JNL234                        G.Stubblefield    Rice              Carried-Voice Vote
SB306       A. Clark           Do Pass as Amended                            Rice              T. Gamer          Carried-Voice Vote
HB1685      Vaught             Adopt Amendment BPG515                        Collins-Smith     T. Gamer          Carried-Voice Vote
HB1665      Vaught             Do Pass as Amended                            G. Stubblefield   Standridge        Carried-Voice Vote
HB1685      Tucker            DoPaas                                         Bond              J. Hutchinson     Carried-Voice Vote
HB1686      Tucker             Do Pass                                       G. Stubblefield   T. Gamer          Carried-Voice Vote
HB1175      Tucker             Do Pass                                       Bond              T. Garner         Carried..Voice Vote
S8600       Bond              lAdopt Amendment BPG519                        Bond              J. Hutchinson     Carried-Voice Vote
S8600       Bond                                                                                                 Pulled Down By Sponsor
HB15n       Hammer            lAdopt Amendment BPG471                        T. Gamer          Rice              Carried-Voice Vote
HB15n       Hammer             Do Pass as Amended                            G. Stubblefield   T. Garner         Carried-Voice Vote
HB1578      Hammer            Adopt Amendment BPG472                         Bond              J. Hutchinson     Carried-Voice Vote
HB1578      Hammer                                                                                               Pulled Down By Sponsor
88656       G. Stubblefield   Do Pass                                        Collins-Smith     T.Gamer           No Action Taken
S837        A. Clark          Do Pass                                        Rice              G. Stubblefield   Carried-Voice Vote
S8535       J. Cooper         Special Order of Business, 10.00 a.m., March   J. Hutchinson     T.Garner          Carried-Voice Vote
                              14,2017
S8343       B. King                                                                                              No Action Taken
SB8         A. Clark                                                                                             No Action Taken
S816        A. Clark                                                                                             No Action Taken
8817        A. Clark                                                                                             No Action Taken
                                                                                                                                      Page 1 of 3
                          Case 4:19-cv-00442-JM Document 1 Filed 06/25/19 Page 66 of 92

Measure
S818
          s-----
          A. Clark
                          Mallon
                                                          •••         SeccndB¥       Reaullll
                                                                                     No Action Taken
S833      Hickey                                                                     No Action Taken
5B36      A. Clark                                                                   No Adlon Taken
$841      A. Clark                                                                   No Action Taken
se1n      B.King                                                                     NoActlon Taken
SB225     Rapert                                                                     No Action Taken
HB1041    B. Smith                                                                   No Action Taken
HB1361    Speaks                                                                     No Action Taken
S8305     A. Clark                                                                   No Action Taken
S8307     A. Clark                                                                   No Action Taken
HB1486    Drown                                                                      No Action Taken
H81367    Watson                                                                     No Action Taken
H81540    Shepherd                                                                   No Action Taken
S8414     Hester                                                                     No Action Taken
HB1514    E.Armstrong                                                                No Action Taken
88444     T. Gamer                                                                   No Action Taken
S8492     A. Clark                                                                   No Action Taken
88493     O.Sandara                                                                  No Action Taken
88497     Irvin                                                                      No Action Taken
HB1542    Shepherd                                                                   No Action Taken
HB1858    ~ucker                                                                     No Action Taken
S8533     J. Hutchinson                                                              No Action Taken
8B548     Filas                                                                      No Action Taken
S8554     J. Hutchinson                                                              No Action Taken
S8583     ~- Garner                                                                  No Action Taken
SB580     Eliott                                                                     No Action Taken
S8585     Rice                                                                       No Action Taken
SB586     Hester                                                                     NoAdlon Taken
S8590     a.Johnson                                                                  No Adion Taken
SB594     Collins-Smith                                                              No Action Taken
$8616     Bond                                                                       No Action Taken
58828     J. Hutchinson                                                              No Action Taken
58648     T. Garner                                                                  No Adlon Taken
                                                                                                       Page2of3
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Measure   S--               Mallon                          Made a,     SecondBII      RNuls
58660     Collins-Smith                                                                No Action Taken
S8702      E. WiHiams                                                                  No Action Taken
S0718      Hester                                                                      No Action Taken
S8724      J. Dismang                                                                  No Action Taken
S0727     Collins-Smith                                                                No Action Taken
S8728     Collins-Smith                                                                No Action Taken
S8731     G. Stubblefield                                                              No Action Taken
S8734     A. Clarlc                                                                    No Action Taken
S8736     iA. Clarlc                                                                   No Action Taken
S8737     A. Clarlc                                                                    No Action Taken
S8738     A. Clark                                                                     No Action Taken
S874O     A. Clark                                                                     No Action Taken
S8741     A. Clark                                                                     No Action Taken
S8751     G. Stubblefield                                                              No Action Taken
S8753      B. King                                                                     No Action Taken
san4      Collins-Smith                                                                No Action Taken
ssm       L. Chesterfield                                                              No Action Taken
S8781     Collins-Smith                                                                No Action Taken
S8788     Hester                                                                       No Action Taken
HB1249    Collins                                                                      No Action Taken
HB1m      Richey                                                                       No Action Taken
HB1554    Drown                                                                        No Action Taken




                                                                                                         Page 3()(3
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                               ARKANSAS SENATE
                      91st General Assembly- Regular Session, 2017
                                       Amendment Form


                                     Subtitle of House BUI No. 1665
      ro CREATE A CAUSE OF ACTION FOR UNAUTIIORIZED ACCESS TO ANOTHER PERSON'S
                                              PROPERTY.



                           Amendment No.           to Bouse BUI No. 1665

Amend House Bill No. 1665 as engrossed, HJ/3/17 (version: 03/03/2017 10:07:55 AM):
Page 2, delete lines 23 and 24, and substitute the following:
      "Cd) A p,xson who lmowip.gly directf or usists another person to
violate this section is jointly liable."



Page 3, delete lines 6 through 9, and substitute the following:
      "Cg) This section does noe apply to a state agency, a state-funded
institution of higher education, a law enforcement officer engaged in a
lawful investigation of comercial property or of the owner or operator of
the comercial property. or a healthcare provider or aedical services
provider."




I•••
Tbe Aaaclmellt wa rad tile ftnt time, nala 1u1peaded •• dread die second time a • d _ _ _ _ _ _ __
By: Seutor G. Shi...,_..
BPG/TDW • 03-1..211115:57:17
BPG5J5                                                                                          Secretary
              Case 4:19-cv-00442-JM Document 1 Filed 06/25/19 Page 69 of 92


                                            AGENDA
                                  Senate Committee on Judiciary
                                      91st General Assembly
                                        Regular Senion, 2017
                                         Monday, March 13, 2017
                                                09:00AM
                                        Room 171, State Capitol
                                         Little Rock, Arkansas


                                                                          San. Terry RICe
                                                                          San. Greg Standridge
                                                                          Sen. Trent Ganw
                                                                          Sen. Wit Bond



                                       RE-REFERRED IQ COMM{ITEE
Number       Sponsor        Subtitle
~             B. King       TO AMEND THE AUTHORITY OF THE ARKANSAS TOBACCO CONTROL BOARD TO
                            ASSESS CML PENALTIES; AND TO MODIFY CIVIL PENALTIES FOR UNLAWFUL SALES
                            OF TOBACCO PRODUCTS.
             A. Clark       PERMITTING A CONCEALED CARRY LICENSEE TO POSSESS A CONCEALED HANDGUN
                            IN HIS OR HER EMPLOYER'S PARKING LOT.

                                           REGULAR AGENDA
Number       Sponsor        Subtitle
sea          A. Clark       TO AMEND CONFIDENTIALITY AND NONDISCLOSURE PROVISIONS OF THE CHILD
                            MALTREATMENT ACT.
§i1§         A. Clark       TO AUTHORIZE A REVIEW OF AGENCY PROCEDURE; AND TO AMEND
                            CONFIDENTIALITY AND DISCLOSURE PROVISIONS OF THE CHILD MALTREATMENT
                            ACT.
se11          A. Clark      TO AMEND PROVISIONS IN THE CHILD MALTREATMENT ACT; TO AMEND PROVISIONS
                            IN THE JUVENILE CODE; AND TO AMEND PROVISIONS CONCERNING THE PLACEMENT
                            OF JUVENILES.
film         A. Clark       TO REQUIRE THE APPOINTMENT OF PARENT COUNSEL IN A PROCEEDING TO
                            TERMINATE PARENTAL RIGHTS; AND TO AMEND THE STATE CENTRAL SERVICES
                            FUND.
~             Hickey        TO ALLOW A CONCEALED HANDGUN LICENSEE TO KEEP A HANDGUN IN HIS OR HER
                            LOCKED PRIVATE MOTOR VEHICLE ON HIS OR HER EMPLOYER'S PARKING LOT IN
                            CERTAIN CIRCUMSTANCES.
~             A. Clark      CONCERNING HANDGUN TRAINING REQUIREMENTS FOR VETERANS OF THE UNITED
                            STATES ARMED FORCES ANO CURRENT MEMBERS OF ntE UNITED STATES ARMED
                            FORCES WHO APPLY FOR A CONCEALED HANDGUN LICENSE.
S840          A. Clark      TO AMEND PROVISIONS IN THE JUVENILE CODE CONCERNING THE PLACEMENT OF
                            JUVENILES.
S841          A. Clark      TO AMEND CONFIDENTlALITY EXEMPTIONS UNDER THE CHILD MALTREATMENT ACT.
S6177         B. King       REQUIRING A PERSON WHO HAS THREE OR MORE PREVIOUS COMMITMENTS TO THE
                            DEPARTMENT OF CORRECTION TO SERVE AT LEAST BGHTY PERCENT OF HIS OR
                            HER SENTENCE FOR HIS OR HER NEXT COMMITMENT TO THE DEPARTMENT BEFORE
                            BEING ELIGIBLE FOR PAROLE.
              Rapert        CONCERNING CREDIT OR DEBIT CARD •sKJMMING"; AND CREATING THE OFFENSE OF
                            UNAUTHORIZED ACQUISITION OR TRANSFER OF FINANCIAL SIGHT ORDER OR
                            PAYMENT CARD INFORMATION.
HB1041        B. Smith      TO PROTECT THE RIGHTS AND PRMLEGES GRANTED UNDER THE ARKANSAS
                            CONSTITUTlON AND THE UNITED STATES CONSTITUTION; AND TO DECLARE
                            AMERICAN LAWS FOR AMERICAN COURTS.


Notice: Silence your cell phonn. KNp your pensonal conversations to a minimum. Observe restriction•
        deelgnatlng areas a• "lfembens and Stall Only"
          Case 4:19-cv-00442-JM Document 1 Filed 06/25/19 Page 70 of 92




         Speaks          TO AMEND THE GROUNDS FOR DIVORCE OR SEPARATION UNDER THE COVENANT
                         MARRIAGE ACT OF 2001; AND TO ADD MENTAL ABUSE AS A GROUNDS FOR DIVORCE
                         AND SEPARATION UNDER THE COVENANT MARRIAGE ACT OF 2001.
         A. Clark        TO AMEND THE DEFINITION OF •NEGLECT" ANO THE LAW CONCERNING CLOSURES OF
                         CHILD MALTREATMENT INVESTIGATIONS; AND TO MAKE CERTAIN ACTS OF A PARENT,
                         GUARDIAN, CUSTODIAN, OR FOSTER PARENT NONCRIMINAL.
         A. Clark        CONCERNING A NONCUSTODIAL PARENT'S UNSUPERVISED VISITATION WITH HIS OR
                         HER CHILD; TO AMEND DEFINITIONS UNDER THE ARKANSAS JUVENILE CODE OF 1989;
                         AND TO AMEND THE LAW ON PROBABLE CAUSE HEARINGS AND THE TERMINATION OF
                         PARENTAL RIGHTS.
         A. Clark        CONCERNING DRUG TESTING UNDER THE CHILD MALTREATMENT ACT; CONCERNING
                         CHILO MALTREATMENT INVESTIGATION REPORTS; TO AMEND THE DEFINITION OF
                         •NEGLECT";     ANO TO AMEND       THE   LAW CONCERNING      INVESTIGATIVE
                         DETERMINATIONS.
~        Drown           TO ESTABLISH THE STOLEN VALOR ACT.
HB1367   Watson          CONCERNING AN AUXILIARY LAW ENFORCEMENT OR A RETIRED LAW ENFORCEMENT
                         OFFICER CARRYING A CONCEALED HANDGUN; AND CONCERNING RETIRED LAW
                         ENFORCEMENT OFACERS.
HB1540   Shephard        CONCERNING THE REGISTRATION OF CONVICTED SEX OFFENDERS ON THE
                         ARKANSAS SEX OFFENDER REGISTRY; CONCERNING REQUIRED INFORMATION ON
                         THE ARKANSAS SEX OFFENDER REGISTRY; AND CONCERNING IN-PERSON
                         REPORTING.
         Hester          TO AMEND THE UNIFORM COMMERCIAL CODE TO PREVENT FRAUDULENT LIEN
                         FILINGS.
H81514   E. Annstrong    TO CREATE THE OFFENSE OF IMPROPER USE OF OR ALTERING THE STATE SEAL.
S8444    T. Gamer        CONCERNING THE CARRYING AND POSSESSION OF A HANDGUN VVITHOUT A LICENSE.
~        A. Clark        TO ESTABLISH THE OFFICE OF THE INSPECTOR GENERAL FOR THE DEPARTMENT OF
                         HUMAN SERVICES; TO INCREASE CRIMINAL PENALTIES FOR THEFT OF PUBLIC
                         BENEFITS; AND TO CREATE THE OFFENSE OF MISUSE OF STATE PROPERTY.
         D.Sanders       TO AMEND THE DEFINITION OF THE OFFENSE OF COMPUTER FRAUD TO INCLUDE
                         EXTORTION USING RANSOMWARE.
         Irvin           TO PROVIDE FOR THE SUPERVISION OF DELINQUENT YOUTH UNDER THE
                         INTERSTATE COMPACT FOR JUVENILES.
HB1542   Shepherd        ADDRESSING THE SEALING OF A PERSON'S FELONY RECORD WHEN THE PERSON IS A
                         FIRST-TIME FELONY OFFENDER.
         Hammer          CONCERNING THE OFFENSE OF ARSON; AND CONCERNING THE STATUTE OF
                         LIMITATIONS FOR ARSON.
HB165e   Tucker          CONCERNING THE OFFENSE OF SEXUAL ASSAULT IN THE THIRD DEGREE.
SB533    J. Hutchinson   TO CREATE THE DYNASTY TRUST ACT.
~        J. Cooper       CONCERNING DUAL JUDICIAL DISTRICTS.
~        Files           CREATING THE ARKANSAS FALSE CLAIMS ACT; AND CONCERNING THE SUBMISSION
                         OF FALSE CLAIMS TO THE STATE OR A LOCAL GOVERNMENT.
         J. Hutchinson   CONCERNING THE AUTHORITY OF A UNITED STATES POSTAL INSPECTOR TO MAKE
                         AN ARREST IN THE STATE.
         T.Gamer         CONCERNING THE FILING OF MULTIPLE FRIVOLOUS LAWSUITS BY INMATES IN THE
                         DEPARTMENT OF CORRECTION.
HB1578   Hammer          CONCERNING OFFENSES INVOLVING RIOTS, INTERFERENCE WITH EMERGENCY
                         MEDICAL SERVICES PERSONNEL OR FIRST RESPONDERS, DISORDERLY CONDUCT,
                         AND OBSTRUCTING A HIGHWAY OR OTHER PUBLIC PASSAGE; AND ESTABLISHING
                         CIVIL LIASILITY.
         Sliott          TO AMEND THE LAW CONCERNING THE PRESUMPTIONS OF PARENTAGE IN CASES OF
                         CHILDREN BORN BY MEANS OF ARTIFICIAL INSEMINATION AND SURROGACY.
         Rice            CONCERNING THE INTENDED PURPOSE OF THE CONCEALED HANDGUN LICENSING
                         PROGRAM.

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         Case 4:19-cv-00442-JM Document 1 Filed 06/25/19 Page 71 of 92




         Hester            REQUIRING A PERSON CONVICTED OF AN OFFENSE USING A COMPUTER OR THE
                           INTERNET TO PAY AN ADDITIONAL FEE; AND TO CREATE A FEE.
         8. Johnson        CONCERNING THE CARRYING OF A WEAPON; AND REPEALING THE "JOURNEY"
                           PROVISION FOR HANDGUN AND WEAPONS OFFENSES.
         Collins-Smith     TO BE KNOWN AS THE TRUE CAMPUS CARRY ACT; AND CONCERNING THE ABILITY TO
                           CARRY A HANDGUN ON A COLLEGE OR UNIVERSITY CAMPUS BY A PERSON WHO HAS
                           A CONCEALED HANDGUN LICENSE.
         Bond              TO AMEND THE LAW CONCERNING THE CIVIL EVICTION PROCESS; TO CREATE AN
                           EVICTION PROCESS FOR FAILURE TO PAY RENT.
         Bond              CONCERNING THE INTERROGATION OF A JUVENILE BY LAW ENFORCEMENT; AND
                           CONCERNING JUVENILE CONFESSIONS.
         J. Hutchinson     TO PRESERVE THE RIGHT TO BE LEFT ALONE.
         T. Gamer          CONCERNING THE VENUE OF CERTAIN LAWSUITS; TO PROMOTE JUDICIAL
                           EFFICIENCY IN ACTIONS WHERE THE STATE IS AN INTERESTED PARTY; AND TO
                           DECLARE AN EMERGENCY.
~        G. Stubblefield   TO EXPAND THE DEFINITION OF MFICTIVE KIN•.
~        Collins-Smith     TO RESTORE RIGHTS OF ARKANSANS TO CARRY FIREARMS IN PUBLIC PLACES.
~        E. WHliams        CONCERNING THE ASSESSMENT OF AN ADDITIONAL FINE FOR CRIMINAL OFFENSES
                           COMMITTED AGAINST OR IN THE PRESENCE OF A CHILD AND THE ASSESSMENT OF
                           AN ADDITIONAL FINE FOR TRAFFIC VIOLATIONS COMMITTED IN THE PRESENCE OF A
                           CHILO.
~        Hester            TO PROTECT CHILDREN IN DELINQUENCY CASES AND FAMILIES IN NEED OF
                           SERVICES CASES FROM UNVVARRANTED TESTING FOR DRUG OR ALCOHOL ABUSE.
S8724    J. Dismang        EXEMPTING A PRIVATE UNIVERSITY OR PRIVATE COLLEGE FROM THE REQUIREMENT
                           THAT IT POST AT ITS ENTRANCE THAT THE PRIVATE UNIVERSllY OR PRIVATE
                           COLLEGE DOES NOT PERMIT THE CARRYING OF A CONCEAi.ED HANDGUN.
~        Collins-Smith     CONCERNING THE CIVIL FORFEITURE OF ASSETS INVOLVED IN CERTAIN CRIMINAL
                           OFFENSES.
~        Collins-Smith     CONCERNING A CONCEALED HANDGUN LICENSEE CARRYING HIS OR HER
                           CONCEALED HANDGUN INTO A STATE OFFICE. A STATE AGENCY, A STATE FACILITY.
                           OR THE STATE CAPITOL BUILDING.
~        G. Stubblefield   TO ABOLISH THE NEW BUSINESS RULE AS A DENIAL OF DAMAGES FOR LOST
                           PROFITS.
         A. Clark          TO AMEND THE LAW CONCERNING THE TERMINATION OF PARENTAL RIGHTS; AND
                           CONCERNING THE PROCEDURE FOR THE REINSTATEMENT OF PARENTAL RIGHTS.
         A. Clark          TO AMEND THE LAW CONCERNING THE RIGHT OF A PARENT, CUSTODIAN, AND
                           PUTATIVE PARENT TO HAVE COUNSEL DURING DEPENDENCY-NEGLECT AND
                           TERMINATION OF PARENTAL RIGHTS PROCEEDINGS.
         A. Clark          TO   ESTABLISH   THE     DIVISION   OF   DEPENDENCY-NEGLECT    PARENTS
                           REPRESENTATION; THE DIVISION OF AD UTEM REPRESENTATION; AND THE DIVISION
                           OF COURT-APPOINTED SPECIAL ADVOCATES.
         A. Clark          TO AMEND THE LAW CONCERNING CHILD WELFARE HEARINGS.
S8740    A. Clark          TO AMEND THE LAWS RELATED TO THE RIGHTS OF GRANDPARENTS.
S8741    A Clartc          TO AMEND THE LAWS REGARDING THE RIGHTS OF GRANDPARENTS.
S8751    G. Stubblefield   TO CREATE A CAUSE OF ACTION FOR UNAUTHORIZED ACCESS TO ANOTHER
                           PERSON'S PROPERTY; AND CONCERNING ACCESS TO ANOTHER PERSON'S
                           PROPERTY.
         8. King           TO ESTABLISH A METHOD FOR A PERSON WITH A CRIMINAL BACKGROUND TO REGAIN
                           HIS OR HER RIGHTS TO POSSESS A FIREARM UNDER CERTAIN CIRCUMSTANCES.
         Collins-Smith     TO CREATE THE ARKANSAS PHYSICAL PRIVACY AND SAFElY ACT; AND TO DECLARE
                           AN EMERGENCY.
H8166§   Vaught            TO CREATE A CAUSE OF ACTION FOR UNAUTHORIZED ACCESS TO ANOTHER
                           PERSON'S PROPERTY.
         Tucker            TO CLARIFY THE CRIMINAL BACKGROUND CHECKS REQUIRED FOR AN APPLICANT OR
                                          Page 3 of5
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                                  EMPLOYEE OF A CHILO CARE FACILITY OR A CHURCH-EXEMPT CHILO CARE FACILITY.
    5B777       L. Chesterfield   TO AMEND THE LAW CONCERNING CHILD CUSTODY.
    58781       Collins.Smith     CONCERNING TRUTH IN SENTENCING.
    ~           Hester            TO AMEND THE LAW CONCERNING A MECHANIC'S LIEN.
    HB1249      Collins           CONCERNING THE POSSESSION OF A CONCEALED HANDGUN IN A PUBLIC
                                  UNIVERSITY, PUBLIC COLLEGE. OR COMMUNITY COLLEGE BUILDING ANO
                                  CONCERNING PRMLEGES ASSOCIATED Wint AN ENHANCED LICENSE TO CARRY A
                                  CONCEALED HANDGUN.
    H81175      Tucker            TO REQUIRE LIFETIME REGISTRATION ON THE ARKANSAS SEX OFFENDER REGISTRY
                                  FOR A PERSON CONVICTED OF RAPE WHEN THE RAPE INVOLVED THE USE OF FORCE.
    HBFTT       Richey            CONCERNING THE FUNDING OF EXPENSES AND EMPLOYEES OF THE PHILLIPS
                                  COUNTY PROSECUTING ATTORNEY IN THE FIRST JUDICIAL DISTRICT.
    HB1686      Tucker            CONCERNING THE TRACKING OF AND ACCUMULATION OF DATA CONCERNING THE
                                  FAMILIAL OR RESIDENTIAL STATUS OF A VICTIM OF A SEX OFFENSE.
    HB1764      Maddox            REMOVING REFERENCES IN THE ARKANSAS CODE TO JURY COMMISSIONERS, WHICH
                                  NO LONGER EXIST.
    t:!Bl77a    Rushing           TO AMEND GRANDPARENTS' RIGHTS IN CUSTODY AND VISITATION MATTERS; AND TO
                                  GRANT VISITATION RIGHTS TO GRANDPARENTS WHEN A PARENT OF A CHILD IS
                                  DECEASED.


          SPECIAL ORDER OF BUSINESS- TUESDAY, MARCH 141 2017-10 MINUTES
                               UPON ADJORNMENT
    Number      Sponsor           Subtitle
    HB1554      Drown             CONCERNING PRIVATE REAL PROPERTY RIGHTS; TO PROTECT NATURAL RESOURCES,
                                  AGRICULTURAL RESOURCES, AND HISTORICAL ARTIFACTS; TO DETER CRIMINAL
                                  ACTIVITY ON A PERSON'S REAL PROPERTY; AND CONCERNING THE OFFENSE OF
I                                 CRIMINAL TRESPASS.


                                                  DEFERRED BILLS
    Number      Sponsor           Subtitle
    ~           Teague            TO AMEND CERTAIN CRIMINAL OFFENSES CONCERNING ABUSES OF PUBLIC OFFICE;
                                  TO AMEND THE LAW CONCERNING ABUSE OF OFFICE; AND TO AMEND THE LAW
                                  CONCERNING ABUSE OF PUBLIC TRUST.
    S86         Bond              TO PROTECT CITIZENS WHO ARE VICTIMS OF JUDICIAL ETHICS VIOLATIONS; TO
                                  CREATE A CAUSE OF ACTION AGAINST JUDGES AND JUSTICES WHO HAVE BEEN
                                  CONVICTED OF CERTAIN OFFENSES; AND TO CREATE AN EXCEPTION TO JUDICIAL
                                  IMMUNITY.
                Bond              TO AMEND THE LAW CONCERNING THE ELEMENTS AND PENALTIES OF NEGLIGENT
                                  HOMICIDE.
    ~           J. Hutchinson     CONCERNING CIVIL SUITS IN CONNECTION WITH CRIMINAL ACTIVITY.
    ~           G. Stubblefield   CONCERNING THE OMNIBUS DWI OR BWI ACT; CONCERNING OPERATION OF A MOTOR
                                  VEHICLE OR BOAT UNDER THE INFLUENCE OF MARIJUANA; ANO ESTABLISHING A
                                  PRESUMPTIVE LEVEL OF INTOXICATION DUE TO MARIJUANA IN A PERSON'S BOOILY
                                  FLUIDS.
                B. Johnson        TO PROTECT THE PRIVACY OF SURVMNG FAMILY MEMBERS OF A LAW
                                  ENFORCEMENT OFFICER WHO DIES IN THE LINE OF DUTY; AND TO EXEMPT CERTAIN
                                  LAW ENFORCEMENT RECORDS FROM DISCLOSURE; AND TO DECLARE AN
                                  EMERGENCY.
                J. Hutchinson     AN ACT CONCERNING THE COLLECTION OF RESTITUTION; AND TO ESTABLISH THE
                                  DEPARTMENT OF FINANCE AND ADMINISTRATION AS THE DESIGNATED AGENCY FOR
                                  COLLECTION OF RESTITUTION IN CERTAIN CIRCUMSTANCES.
                J. Hutchinson     CONCERNING THE DEFINITION OF "TARGET GROUP~ AS IT IS APPLIES TO COMMUNITY
                                  CORRECTION.

                                                Page 4 of5
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~   G. Stubblefield   AMENDING THE SENTENCING RANGE FOR CERTAIN MURDER CONVICTIONS;
                      CONCERNING THE REOPENING OF UNSOLVED MURDER CASES; CONCERNING A
                      MINIMUM BAIL IN A MURDER CASE; AND CONCERNING PAROLE FOR MURDER
                      CONVICTIONS.




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                                  ATTENDANCE

                              91 st General Assembly
                              Regular Session, 2017

                         JUDICIARY COMMITTEE - SENATE

                              Monday, March 13, 2017


MEMBERS                                            PRESENT   ABSENT
Sen. Will Bond                                         X
Sen. Trent Gamer                                       X
Sen. Bryan King                                                 X
Sen. Terry Rice                                        X
Sen. Greg Standridge                                   X
Sen. Gary Stubblefield                                 X
San. Linda Collins-Smith, Vice Chair                   X
Sen. Jeremy Hutchinson, Chair                          X
TOTALS                                                 7        1
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                                    91st General Assembly
                                    Regular Session, 2017
                                         Form for Testimony
                                             Before the
                           JUDICIARY COMMITTEE - SENATE
LOCATION: Room 171                             DATE: March 13, 2017
STAFF: Rebeca Haley/Judy Steelman              TIME: 09:00 AM
  BIii/Resoiution            Name                 I      Interest Represented                Position
                                                                                         (For/Aaalnstllnfo)
SB40             Mischa Martin, Director          OHS - Division of Children & Family   Informational
                                                  Services
SB306            Brian Welch, Director            Parent Council Program                For
HB1665           Robert Coon                      Impact Management Group               For
HB1175           Robert Combs                     CARE                                  Informational
S8600            Lynn Foster                      Citizen                               For
S8656            Mischa Martin, Director          OHS - Division of Children & Family   Informational
                                                  Services
S837             Julie Steel                      Morns Demand Action                   Against
S837             Nancy Gibbons                    Citizen                               For
           Case 4:19-cv-00442-JM Document 1 Filed 06/25/19 Page 76 of 92




TESTIMONY SIGN IN DISCLAIMER:

The names of persons appearing on this Sign-In sheet who did not provide testimony at the meeting
have not been verified as to the listed person's attendance at the meeting, identify of the person signing
the sheet, or position of the person as either for or against the Issue discussed.
                             Case 4:19-cv-00442-JM Document 1 Filed 06/25/19 Page 77 of 92


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             MINUTES PACKET
JUDICIARY COMMITTEE - HOUSE
              MARCH 16, 2017
                             Case 4:19-cv-00442-JM Document 1 Filed 06/25/19 Page 79 of 92


                                                       91 st General Assembly
                                                     Regular Session, 2017
                                                      Committee Minutes
                                                JUDICIARY COMMITTEE- HOUSE
CHAIRS: Rep. Matthew J. ~herd, Chair                                  COMIIITI'EE STAFF:

DATE:     03/16/20171():00:00 AM                                      LOCATION: Room 141

BILLS OR RESOLUTIONS CONSIDERED:
Measure
HB1665
HB1420
             S--
             Vaught
             C. Fite
                            ,lloClon
                            Concur in Senate Amendment
                            Concur in Senate Amendment
                                                                           .....
                                                                           Ballinger
                                                                           C. Fite
                                                                                         Second•   Resulla
                                                                                                   Carried-Voice Vote
                                                                                                   Carried-Voice Vote
HB1873       L.Fite         Do Pa11 as Amended                             L. Fite                 Carried-Voice Vote
$B223        Rapert         Do Pass                                        Ballinger               Carried-Voice Vote
HB1821       BaUinger       Do Pass                                        Ballinger               Carried.Voice Vote
HB1899       Bentley        Do Pass                                        Ballinger               Failed-Roll Call Vote 7-2-11
HB1899       BanUay         Expunge Vote by which Bill Failed              Balfinger               Carried-Roll can Vote 10-0-10
HB1756       Collins        Do Pass                                        O. Whitaker             Carried-Voice Vote
HB1983       Shepherd       OoPaa                                          Shepherd                Cerried-Voice Vote
S815         A. Clark       DoPau                                          Ballinger               Carried-Voice Vote
HB1986       Ballinger      DoPau                                          Ballinger               Carried-Voice Vote
HB2248       Gazaway        DoPaas                                         Gazaway                 Carried-Voice Vote
HB1798       Blake          Special Order of Business Tuesday, March 21,   Shepherd                Carried-Voice Vote
                            2017, 10:00 a.m.
HB2103       V. Flowers     Special Order of Business Tuesday, March 21,   Shepherd                Carried-Voice Vote
                            2017, 10:00 a.m.
HB2170       V. Flowers     Special Order of Buaineas Tuesday, March 21,   Shepherd                Carried-Voice Vote
                            2017, 10:00 a.m.
HB1943       C.Douglas      ~dopt Amendment JNL261                         Blake                   Carried-Voice Vote
HB1943       C.Oouglas      Do Pass as Amended                             0. Whitaker             Canied-Voice Vote
HB1817       C. Douglas     ~dopt Amendment BPG547                         Tucker                  C8rried-Voice Vote
HB1817       C.Douglas      Do Pass as Amended                             Tucker                  Carried-Voice Vote
SB491        Maloch         Do Pass                                        Tucker                  Carried-Voice Vote
                                                                                                                        Page 1 of3
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Measure   s               Mellon                           Made Bit    Second Bit     Results
SB367     8. King         Adopt Amendment BPG516           Tucker                     Carried-Voice Vote
SB367     B. King         Do Pass as Amended               C. Fite                    Carried-Voice Vote
SB550     T. Gamer        Adopt Amendment BPG552           Ballinger                  Carried-Voice Vote
H81629    Tucker                                                                      No Action Taken
HB1630    Tucker                                                                      No Adlon Taken
H81268    Murdock                                                                     No Action Taken
S8113     J. Hutchinson                                                               No Action Taken
HB1784    Eaves                                                                       No Action Taken
HB1797    Lading                                                                      No Action Taken
HB1837    Brown                                                                       No Action Taken
HB1842    Johnson                                                                     No Action Taken
HB1864    Gates                                                                       No Action Taken
$8102     Flippo                                                                      No Action Taken
HB1884    Gazaway                                                                     No Action Taken
HB1886    Gazaway                                                                     No Action Taken
HB1889    Ballinger                                                                   No Action Taken
HB1895    Gates                                                                       No Adlon Taken
HB1909    Walker                                                                      No Adlon Taken
HB1918    ~alker                                                                      No Action Taken
HB2017    Brown                                                                       No Action Taken
HB2075    Leding                                                                      No Action Taken
HB2076    Dotson                                                                      No Action Taken
HB2083    Petty                                                                       No Action Taken
HB2112    !Walker                                                                     No Action Taken
HB2118    !Womack                                                                     No Action Taken
HB2119    IWomack                                                                     No Action Taken
HB2121    Womack                                                                      No Action Taken
HB2168    Collins                                                                     No Action Taken
HB2199     M. Hodges                                                                  No Action Taken
HB2232    BalHnger                                                                    No Action Taken
HB2253    Gazaway                                                                     No Action Taken
HB2228    Blake                                                                       No Action Taken
HB2012    ~aught                                                                      No Adion Taken
                                                                                                           P.u,· 2 .,, 3
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Measu,e
HB1994
          SDOnSor
          Pilkington
                        Mallon                           Uade&t
                                                                     ...   ~.       Resulls
                                                                                    No Action Taken
HB2088    Leding                                                                    No Action Taken
HB1827    Della Rosa                                                                No Action Taken
HB1888    Ballinger                                                                 No Action Taken
HB1444    Ballinger                                                                 No Action Taken
HB1959    Ballinger                                                                 No Action Taken
HB2113    Henderson                                                                 No Action T-aken
HB2116    Holcomb                                                                   No Action Taken
HB2202    Tucker                                                                    No Action Taken
HB2234    Ballinger                                                                 No Action Taken
S837      A. Clark                                                                  No Action Taken
HB2131    K. Ferguson                                                               No Action Taken
HB2266    rv.Flowers                                                                No Action Taken
HB2270    ~.Flowers                                                                 No Action Taken




                                                                                                       P."" 3 ,., 3
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                                      AGENDA (Revised 3/15/2017 @6:45 p.m.)
                                   Added BIiis & Moved HB1444 from Deferred Bills)
                                          House Committee on Judiciary
                                               91st General Assembly
                                                Regular Session, 2017

                                                   Thursday, March 16, 2017
                                                           10:00AM
                                                    Room 149, State capitol
                                                     Uttle Rock, Arkansas


 Rep. Matthew J. Shepherd, Chair                Rep. David Whitaker            Rep. Lanny Fite
 Rep. Dwighl Tosh, Vtee-Chair                   Rep. Rebecca Petty             Rep. MIiion Nicks, Jr.
 Rep. Jetemy Gillam                             Rep. Trevor DrOIMI             Rep. Brandt Smith
 Rep. Douglas Houae                             Rep. Michelle Gray             Rep. John Maddox
 Rep. Charlene Fite                             Rep. Charles Blake             Rep. Jimmy Gazaway
 Rep. Bob Balllnger                             Rep. Clarte Tuctcer            Rep. carol Dalby
                                                Rep. Lauie Rushing             Rep. Sarah Capp



                                                CONCUR IN SENATE AMENDMENT
Number            Sponsor            Subtitle
HB1420            C. Fite            TO CREATE THE ARKANSAS DOMESTIC VIOLENCE SHELTER ACT; TO CREATE THE
                                     DOMESTIC VIOLENCE SHELTER FUND; ANO TO ESTABLISH PROCEDURES FOR
                                     FUNDING DOMESTIC VIOLENCE SHELTERS.
HB1665           Vaught              TO CREATE A CAUSE OF ACTION FOR UNAUTHORIZED ACCESS TO ANOTHER
                                     PERSON'S PROPERTY.

                                                        REGULAR AGENDA
Number            Sponsor            Subtitle
HB1629            Tucker             TO PROTECT VICTIMS OF DOMESTIC ABUSE AND STALKING; AND PROHIBITING A
                                     PERSON CONVICTED OF MISDEMEANOR DOMESTIC BATTERING OR STALKING FROM
                                     POSSESSING A FIREARM.
HB1630            Tucker             TO PROTECT CHILDREN FROM UNATTENDED LOADED FIREARMS; AND TO CREATE
                                     TiiE OFFENSE OF NEGLIGENTLY ALLOWING ACCESS TO A FIREARM BY A CHILD.
HB1268            Murdock            CONCERNING THE USE OF AN IGNITION INTERLOCK DEVICE.
~                 J. Hutchinson      TO REMOVE A DRIVER'S LICENSE SUSPENSION OR REVOCATION AS AN AVAILABLE
                                     PENALTY FOR OFFENSES NOT RELATED TO DRIVING A MOTOR VEHICLE.
Hl;l17§§         Collins             CONCERNING THE OFFENSE OF LOITERING.
1::HUZ~          Eaves               CONCERNING THE QUALIFICATIONS TO BE A LAW ENFORCEMENT OFFICER
HB1797           leding              TO AMEND THE ARKANSAS CIVIL RIGHTS ACT OF 1993.
HB1798           Blake               AMENDING THE BURDEN OF PROOF REQUIRED DURING THE SENTENCING PHASE OF
                                     A TRIAL WHEN THE STATE SEEKS THE DEATH PENALTY.
HB1a11            C. Douglas         TO CREATE THE OFFENSE OF POSSESSION OF A FIREARM WHILE UNDER THE
                                     INFLUENCE OF ALCOHOL OR A CONTROLLED SUBSTANCE.
HB1821            Ballinger          CONCERNING A PARTY IN AN ACTION FOR DECLARATORY RELIEF; AND TO DECLARE
                                     AN EMERGENCY.
HB1837            Brown              CONCERNING POSSESSION OF A CONCEALED HANDGUN BY A CONCEALED HANDGUN
                                     LICENSEE; PERMITTING THE CONCEALED CARRY OF A HANDGUN BY A CONCEALED
                                     CARRY LICENSEE INTO A PUBLICALLY OWNED BUILDfNG OR FACILITY.
HB1842            Johnson            CONCERNING THE FINES ANO FEES ASSESSED TO A PERSON WHO IS
                                     INCARCERATED.
H818~             Gates              CONCERNING A MEMBER OF THE GENERAL ASSEMBLY AND THE SCOPE OF WHERE A
                                     MEMBER OF THE GENERAL ASSEMBLY MAY CARRY AND POSSESS A CONCEALED
                                     HANDGUN.


Notice: Silence your cell phones. Keep your personal conversations to a minimum. Obaerve restrlctlona
        designating areas as ..Members and Staff Only"
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HB1873   L. Fite      TO AMEND THE OBLIGATIONS OF AN OPERATOR OF A VESSEL INVOLVED IN A
                      COLLISION OR ACCIDENT; AND TO AMEND THE CRIMINAL PENALTIES.
         Flippo       TO CLARIFY THE LAW CONCERNING THE FINES, FEES, AND COSTS THAT MAY BE
                      ASSESSED FOR A VIOLATION OF THE MANDATORY SEATBELT USE LAW.
HB1884   Gazaway      TO ADOPT THE UNIFORM UNSWORN FOREIGN DECLARATIONS ACT.
HB1886   Gazaway      TO MAKE TECHNICAL CORRECTIONS TO TITLE 16 OF THE ARKANSAS CODE.
HB1889   Ballinger    TO CREATE THE OFFENSE OF CARRYING A WEAPON IN A PROHIBITED PLACE; AND
                      CONCERNING THE POSSESSION OF A HANDGUN.
H81895   Gates        CONCERNING THE CONCEALED CARRY OF A HANDGUN BY A CONCEALED CARRY
                      LICENSEE INSIDE A COURTHOUSE.
HB1899   Bentley      CONCERNING THE PROCUREMENT OF A LICENSE TO CARRY A CONCEALED HANDGUN
                      BY A VICTIM OF DOMESTIC ABUSE.
HB1909   Walker       CONCERNING THE TEMPORARY ABATEMENT OF THE REQUIREMENT OF A PERSON TO
                      PAY COURT-ORDERED CIVIL PENALTIES, COSTS. FEES, FINES, OR RESTITUTION
                      WHILE THAT PERSON IS INCARCERATED OR CONFINED TO A HOSPITAL.
HB1918   Walker       CONCERNING PAROLE ELIGIBILITY FOR A PERSON SERVING A LIFE SENTENCE OR A
                      SENTENCE IN EXCESS OF FORTY-FIVE YEARS.
HB1943   C.Douglas    TO PROHIBIT THE AWARD OF ALIMONY TO PERSONS CONVICTED OF A DOMESTIC
                      VIOLENCE OFFENSE.
HB1986   Ballinger    CONCERNING THE OFFENSE OF INDECENT EXPOSURE.
HB2017   Brown        CONCERNING THE FEE FOR VICTIM IMPACT PANEL ATTENDANCE.
HB2075   Leding       TO PROHIBIT COMMERCIAL SURROGACY ARRANGEMENTS AND THE ENFORCEMENT
                      OF SURROGACY ARRANGEMENTS.
HB2076   Dotson       TO REDUCE THE FEE FOR A CONCEALED CARRY LICENSE; TO CREATE A LIFETIME
                      CONCEALED CARRY LICENSE; AND CONCERNING THE FEES FOR A LICENSE TO
                      CARRY A CONCEALED HANDGUN.
HB2083   Petty        TO AMEND THE LAW CONCERNING CRIMINAL BACKGROUND CHECKS FOR A LONG-
                      TERM CARE EMPLOYEE TO CLARIFY THAT EXPUNGED, PARDONED, OR OTHERWISE
                      SEALED OFFENSES WILL NOT DISQUALIFY AN INDMDUAL FROM EMPLOYMENT IN A
                      LONG-TERM CARE FACILITY.
HB2103   V. Flowers   CONCERNING THE SENTENCES AVAILABLE FOR A CAPITAL OFFENSE.
HB2112   Walker       CONCERNING A PERSON WHO FAILS TO APPEAR OR FAILS TO PAY A FINE;
                      CONCERNING THE OFFENSE OF FAILURE TO APPEAR; AND CONCERNING COSTS,
                      FINES, AND FEES ASSESSED TO A PERSON WHO IS INCARCERATED OR IN A HOSPITAL
                      OR INPATIENT FACILITY.
         Womack       CONCERNING THE CML LIABILITY OF AN ENTITY THAT MAINTAINS A POLICY THAT
                      PROHIBITS THE CARRYING OF A HANDGUN ON ITS PROPERTY.
HB2ll9   Womack       CONCERNING THE CIVIL LIABILITY OF AN INSTITUTION OF HIGHER EDUCATION THAT
                      MAINTAINS A POLICY THAT PROHIBITS THE CARRYING OF A HANDGUN ON ITS
                      PROPERTY AND THE LIABILITY OF THE INSTITUTION'S GOVERNING BODY.
HB2121   Womack       CONCERNING A CITIZEN'S RIGHT TO OBSERVE AND RECORD PUBLIC EVENTS.
HB2168   Collins      CONCERNING THE POSSESSION OF A CONCEALED HANDGUN IN A PUBLIC
                      UNIVERSITY, PUBLIC COLLEGE, OR COMMUNITY COLLEGE BUILDING; AND
                      CONCERNING CONCEALED HANDGUNS.
HB2199   M.Hodges     TO CLARIFY THE PURPOSE OF THE MINORITY BUSINESS ECONOMIC DEVELOPMENT
                      ACT; AND TO AMEND THE REPORTING REQUIREMENTS AND PROVIDE FOR PENALTIES
                      UNDER THE MINORITY BUSINESS ECONOMIC DEVELOPMENT ACT.
         Ballinger    TO CREATE THE GOVERNMENT NONDISCRIMINATION ACT OF 2017; AND CONCERNING
                      RELIGIOUS LIBERTY.
         Gazaway      REVISED UNIFORM FIDUCIARY ACCESS TO DIGITAL ASSETS ACT.
         B. King      CONCERNING ACCOUNTING PRACTICES IN CIRCUIT COURT AND THE OFFICE OF A
                      CIRCUIT COURT CLERK; AND TO CREATE THE CIRCUIT COURT ACCOUNTING AND FINE
                      COLLECTION COMMITTEE.
         Blake        CONCERNING THE INDEPENDENT INVESTIGATION OF DEATHS INVOLVING A POLICE
                                   Page 2 of 4
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                      OFFICER.
HB2012   Vaught       CONCERNING THE POSTING OF BONO TO RELEASE A PERSON FROM JAIL; AND
                      CONCERNING THE POSTING OF BOND BY A MINOR TO RELEASE A PERSON FROM JAIL.
HB1994   Pilkington   CONCERNING THE INTENDED PURPOSE OF THE CONCEALED HANDGUN LICENSING
                      PROGRAM.
         A. Clartc    TO AMEND PROVISIONS CONCERNING JUVENILE COURTS AND PROCEEDINGS.
         Rapert       TO AMEND THE STATUTES OF LIMITATION FOR FRAUDULENT INSURANCE ACTS.
         Maloch       TO CLARIFY THE LAW CONCERNING THE COLLECTION OF A SMALL ESTATE BY A
                      DISTRIBUTEE; ANO TO CLARIFY THE VALUE OF PROPERTY FOR THE PURPOSE OF
                      COLLECTING A SMALL ESTATE.
~        T.Garner     TO CREATE THE OFFENSE OF UNLAWFUL MASS PICKETING.
HB2088   Leding       TO PROVIDE ENHANCED PENALTIES FOR A CRIMINAL OFFENSE COMMITTED BECAUSE
                      OF THE VICTIM'S RACE, COLOR, RELIGION, ETHNICITY, ANCESTRY, NATIONAL ORIGIN,
                      SEXUAL ORIENTATION, GENDER IDENTITY, OR DISABILITY.
H81827   Della Rosa   CONCERNING THE LICENSE FEES FOR A LICENSE TO CARRY A CONCEALED
                      HANDGUN.
HB1888   Ballinger    ESTABLISHING AN ENHANCED CERTIFICATION TO CARRY A HANDGUN; AND
                      CONCERNING THE POSSESSION OF A HANDGUN.
HB1983   Shepherd     CONCERNING THE PROCEDURE ANO REQUIREMENTS FOR THE COMMENCEMENT OF
                      CERTAIN CML CLAIMS; AND CONCERNING INJUNCTIVE RELIEF.
HB1444   BaUinger     TO REVISE CERTAIN EMINENT DOMAIN LAWS THAT ARISE OUT OF PROPERTY RIGHTS
                      SECURED UNDER THE ARKANSAS CONSTITUTION, ARTICLE 2, § 22.
HB1959   Ballinger    TO AMEND THE LAW CONCERNING ALIMONY SUPPORT.
HB2113   Hendarlon    CONCERNING THE TESTING OF A FIREARM BY THE STATE CRIME LABORATORY.
HB211s   Holcomb      TO PROTECT FREIGHT RAIL EMPLOYEES AND PUBLIC TRANSIT EMPLOYEES BY
                      ENHANCING THE PENALTIES OF CERTAIN CRIMINAL OFFENSES.
HB2170   V. Flowers   CONCERNING THE IMPOSITION OF THE DEATH PENALTY ON A DEFENDANT WITH A
                      SERIOUS MENTAL ILLNESS.
HB2202   Tucker       CONCERNING THE NEW BUSINESS RULE ANO THE ABILITY OF A BUSINESS TO
                      RECOVER LOST PROFITS IN LITIGATION.
HB2234   Ballinger    TO REPEAL DOWER AND CURTESY RIGHTS; TO CREATE THE SURVIVING SPOUSE
                      MARITAL SHARE.
         A. Clark     PERMITTING A CONCEALED CARRY LICENSEE TO POSSESS A CONCEALED HANDGUN
                      IN HIS OR HER EMPLOYER'S PARKING LOT.
HB2131   K Ferguson   CONCERNING A SUSPENDED IMPOSITION OF SENTENCE; CONCERNING A CRIMINAL
                      CONVICTION; ANO CONCERNING SUSPENDING AN IMPOSITION OF SENTENCE WHEN A
                      PERSON OWES RESTITUTION,
HB2248   Gazaway      TO AMEND THE IMPLIED CONSENT LAW IN RELATION TO THE OFFENSE OF DRIVING
                      OR BOATING WHILE INTOXICATED.
HB2266   V. Flowers   TO ESTABLISH A UNIFORM STANDARD FOR DATA COLLECTION AMONG LAW
                      ENFORCEMENT AGENCIES.
HB2270   V.Flowera    CONCERNING BODY CAMERAS FOR LAW ENFORCEMENT OFFICERS; AND TO
                      ESTABLISH INCENTIVES FOR THE USE OF BODY CAMERAS AND BODY CAMERA DATA
                      STORAGE.

                                      DEFERRED BILLS
Number   Sponsor
HB10i§   Johnson      CONCERNING THE REQUIREMENTS FOR A CONCEALED HANDGUN LICENSE FOR A
                      CURRENT OR FORMER MEMBER OF THE UNITED STATES ARMED FORCES.
HB12§5   Richey       CONCERNING THE POSSESSION ANO CARRYING OF A CONCEALED OR
                      UNCONCEALED HANDGUN; TO ESTABLISH A LICENSE TO CARRY AN UNCONCEALED
                      HANDGUN; AND TO MAKE TECHNICAL CORRECTIONS.
HB1152   Watson       CONCERNING THE ABILITY OF AN AUXILIARY LAW ENFORCEMENT OFFICER TO CARRY
                      A CONCEALED HANDGUN AND TO BE EXEMPTED FROM THE LICENSING
                                    Pagel of4
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                        REQUIREMENTS TO CARRY A CONCEALED HANDGUN.
HB1177    Tucker        INCREASING THE AVAILABLE SENTENCES FOR CERTAIN SEX OFFENSES WHEN
                        COMMITTED AGAINST A FAMILY OR HOUSEHOLD MEMBER.
HB1248    J. Williams   TO CREATE AN EXEMPTION UNDER THE FREEDOM OF INFORMATION ACT OF 1967
                        CONCERNING CERTAIN LAW ENFORCEMENT INVESTIGATIVE RECORDS.
HB1433    Baltz         TO PROHIBIT A REGISTERED SEX OFFENDER FROM LMNG NEAR A FACILITY WHERE A
                        PERSON WITH A MEDICALLV DIAGNOSED MENTAL DISABILITY OR PHYSICAL
                        DISABILITY RESIDES.
HB1759    Dalby         TO MAKE LEGISLATIVE CORRECTIONS AND TO REPEAL OBSOLETE LAWS CONTAINED
                        IN TITLE 27 OF THE ARKANSAS CODE.
H~Uii3l   Tucker        CONCERNING A WARRANTLESS ARREST FOR DOMESTIC ABUSE.
HB1173    Tucker        TO AMEND AND MAKE CONSISTENT THE OFFENSES OF SEXUAL INDECENCY WITH A
                        CHILD ANO SEXUAL ASSAULT IN THE FOURTH DEGREE.
HB1055    Hammer        TO AMEND THE DEFINmON OF "MARITAL PROPERTY" FOR PURPOSES OF DIVISION OF
                        PROPERTY IN AN ACTION FOR DIVORCE.
HB1747    D. Whitaker   CONCERNING PAROLE ELIGIBILITY OF A PERSON INCARCERATED IN THE
                        DEPARTMENT OF CORRECTION.
HB1985    Ballinger     CONCERNING FIREARM POSSESSION FOR A NONVIOLENT FEDERAL FELONY
                        OFFENDER.
HBlZ13    Lowery        TO ESTABLISH MURDER IN THE SECOND DEGREE AS A SEVENTY-PERCENT CRIME.




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                                  ATTENDANCE

                             91st General Assembly
                             Regular Session, 2017

                         JUDICIARY COMMITTEE- HOUSE

                            Thursday, March 16, 2017


MEMBERS                                           PRESENT    ABSENT
Rep. Bob Ballinger                                     X
Rep. Charles Blake                                     X
Rep. Sarah Capp                                        X
Rep. Carol Dalby                                       X
Rep. Trevor Drown                                      X
Rep. Lanny Fite                                        X
Rep. Charlene Fite                                     X
Rep. Jimmy Gazaway                                     X
Rep. Jeremy Gillam                                              X
Rep. Michelle Gray                                     X
Rep. Douglas House                                     X
Rep. John Maddox                                       X
Rep. Milton Nicks, Jr.                                 X
Rep. Rebecca Petty                                     X
Rep. Laurie Rushing                                             X
Rep. Brandt Smith                                      X
Rep. Clarke Tucker                                     X
Rep. David Whitaker                                    X
Rep. Dwight Tosh, Vice Chair                           X
Rep. Matthew J. Shepherd, Chair                        X
TOTALS                                                 18       2
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                                  ROLL CALL

                             91st General Assembly
                             Regular Session, 2017

                         JUDICIARY COMMITTEE- HOUSE

                            Thursday, March 16, 2017

BILL#: HB1899
MOTION: Do Pass
RESULTS: Failed: 7-2-11

MEMBERS                                    AYE    NAY       NOT
                                                           VOTING
Rep. Jeremy Gillam                                           X
Rep. Douglas House                          X
Rep. Charlene Fite                                           X
Rep. Bob Ballinger                          X
Rep. David Whitaker                                    X
Rep. Rebecca Petty                          X
Rep. Trevor Drown                           X
Rep. Michelle Gray                                           X
Rep. Charles Blake                                     X
Rep. Clarke Tucker                                           X
Rep. Laurie Rushing                                          X
Rep. Lanny Fite                             X
Rep. Milton Nicks, Jr.                                       X
Rep. Brandt Smith                           X
Rep. John Maddox                            X
Rep. Jimmy Gazaway                                           X
Rep. Carol Dalby                                             X
Rep. Sarah Capp                                              X
Rep. Dwight Tosh, Vice Chair                                 X
Rep. Matthew J. Shepherd, Chair                              X
TOTALS                                       7         2     11
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                                   ROLL CALL
                             91st General Assembly
                             Regular Session, 2017

                         JUDICIARY COMMITTEE- HOUSE

                            Thursday, March 16, 2017


BILL#: HB189I
MOTION:   Expunge the vote on which the bill failed
RESULTS: Paped: 10-0-10

MEMBERS                                      AYE      NAY    NOT
                                                            VOTING
Rep. Jeremy Gillam                                            X
Rep. Douglas House                            X
Rep. Charlene Fite                                            X
Rep. Bob Ballinger                            X
Rep. David Whitaker                                           X
Rep. Rebecca Petty                            X
Rep. Trevor Drown                             X
Rep. Michelle Gray                                            X
Rep. Charles Blake                                            X
Rep. Clarke Tucker                                            X
Rep. Laurie Rushing                                           X
Rep. Lanny Fite                               X
Rep. Milton Nicks, Jr.                                        X
Rep. Brandt Smith                             X
Rep. John Maddox                              X
Rep. Jimmy Gazaway                            X
Rep. Carol Dalby                              X
Rep. Sarah Capp                                               X
Rep. Dwight Tosh, Vice Chair                                  X
Rep. Matthew J. Shepherd, Chair                X
TOTALS                                        10       0      10
            Case 4:19-cv-00442-JM Document 1 Filed 06/25/19 Page 89 of 92




                                      91st General Assembly
                                      Regular Session, 2017
                                       Fonn for Testimony
                                           Before the
                               JUDICIARY COMMITTEE- HOUSE
LOCATION: Room 149                           DATE: March 16, 2017
STAFF:                                       TIME: 10:00 AM
  BilUReaolution                Name                   Interest Represented              Position
                                                                                     (For/Aaalnstllnfol
HB1873             ~Wheeler                     Citizen                             For
S8223              Ronnie James                 Arkansas Insurance Department       For
$B223              Suzanne Tipton               Arkansas Insurance Department       For
HB1899             Anthony Roulette             National Rifle Assosatlon           For
HB1983             Ava Roberts                  Arkansas Bankers Association        For
S815               Heather Findley              Division of Children and FamHy      For
                                                Services
HB1986             ~eff Rosenzweig              Arkansas Criminal Defense Lawyers   ~gainst
                                                Association
HB1817             Nate Bell                    Former Member of the House of       For
                                                Representatives
HB1817             Kermit Channell              Arkansas State Crime Lab            Informational
HB367              Benny Magness                Arkansas Board of Corrections       For
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TESTIMONY SIGN IN DISCLAIMER:
The names of persons appearing on this Sign-In sheet who did not provide testimony at the meeting
have not been verified as to the listed person's attendance at the meeting, identify of the person signing
the sheet, or position of the person as either for or against the Issue discussed.
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